Case 1:25-cv-03380-NGG-LKE           Document 18       Filed 07/11/25      Page 1 of 61 PageID #:
                                           1152




      UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF NEW YORK
      ERIC ADAMS 2025, ERIC ADAMS, SHARON
                                                              MEMORANDUM & ORDER
      ADAMS, as Treasurer of Eric Adams 2025,
                                                               25-CV-3380 (NGG) (LKE)
      MARIETTA ROZENTAL, JOE SHANIE, and
      MALCOLM ADAMS,
                                   Plaintiffs,
                       -against-
      NEW YORK CITY CAMPAIGN FINANCE
      BOARD,
                                   Defendant.


            NICHOLAS G. GARAUFIS, United States District Judge.
           The New York City Campaign Finance Board's (the "Board" or
           "CFB") Vision Statement provides that "[w]hen every New
           Yorker is empowered to participate meaningfully in elections,
           candidates for office will be reflective of the communities they
           serve, elected leaders will be accountable to the public, and New
           Yorkers will have a democracy they can trust." 1 And the Board's
           mission is to make the city's "local democracy more open, trans-
           parent, and equitable." 2 In line with its vision and mission
           statements, the Board provides strong incentives to candidates to
           "finance their campaigns by engaging with average New York-
           ers," rather than "seeking large contributions from special
           interests." 3 The Board's voluntary public financing program
           matches small-dollar contributions from individuals residing in

           1 See New York City Campaign Finance Board, About the CFB, available at

           https://www.nyccfb.info/about [https://perma.cc/N6W-7AEB] (last vis-
           ited July 11, 2025).
           2 See id.

           3 See New York City Campaign Finance Board, How It Works, available at

           https://www.nycdb.info/program/how-it-works
           [https://perma.cc/8R9G-4P55] (last visited July 11, 2025).




                                                 1
Case 1:25-cv-03380-NGG-LKE          Document 18          Filed 07/11/25       Page 2 of 61 PageID #:
                                          1153




           New York City to help amplify their voices in city elections. 4 New
           York City Mayor Eric Adams, his reelection campaign, including
           the campaign treasurer, and individual supporters of Mayor Ad-
           ams, now come before this court seeking access to New York
           City's matching funds.
           On May 27, 2025, Petitioners-Plaintiffs ("Plaintiffs"), including
           New York City Mayor Eric Adams, his reelection campaign (the
           "Adams Campaign"), the Treasurer of the Adams Campaign, Sha-
           ron Adams and some individual supporters of Mayor Adams, 5
           brought this civil action in the Supreme Court of the State of New
           York, Kings County, against the CFB. (Not. of Removal (Dkt. 1)
           Cf 1.) Plaintiffs' operative Petition6 alleges that by denying the Ad-
           ams Campaign public matching funds under the New York City
           Campaign Finance Program, the CFB committed various state
           law and federal constitutional violations. (See generally Am. Pet.)
           Specifically, Plaintiffs allege that the CFB "acted arbitrarily, ca-
           priciously, illegally, and unconstitutionally'' in denying the
           Adams Campaign $3,439,168 in campaign matching funds to
           which it is entitled pursuant to the Campaign Finance Act based
           on the matchable contributions totaling $429,896. (Id. 'f'f 2, 32-
           34.)
           On June 16, 2025, pursuant to 28 U.S.C. §§ 1441 and 1446, the
           CFB removed the case to this court. (See Not. of Removal at 1,
           10.) In this hybrid proceeding, pending before the court are

           4 See id.

           5 Mayor Adams's supporters include Plaintiffs Marietta Rozental, Joe Sha-

           nie, and Malcolm Adams, each of whom donated $2,000, $1,100, and
           $100, respectively, to the Adams Campaign. (See Am. Petition-Complaint
           ("Am. Pet.") (Dkt. 1-1 at ECF p. 111) '!'I 20-22.)
           6 For the sake of simplicity, the court refers to the Petition-Complaint as

           "the Petition" even though this is a hybrid proceeding. And "[i]n a hybrid
           proceeding, the petitioner is free to pursue Article 78 claims and plenary
           claims for damages; the claims simply proceed on separate procedural
           tracks." Whitfield v. City of N.Y., 96 F.4th 504,526 (2d Cir. 2024).




                                               2
Case 1:25-cv-03380-NGG-LKE          Document 18          Filed 07/11/25       Page 3 of 61 PageID #:
                                          1154




            Plaintiffs' request for relief pursuant to New York Civil Practice
           Law and Rules ("CPLR") Article 78; declaratory judgment under
            CPLR 3001; money damages pursuant to 42 U.S.C. § 1983; at-
           torneys' fees and litigation expenses under 42 U.S.C. § 1988; and
           Defendant's fully briefed motion for judgment on the pleadings
           pursuant to Federal Rule of Civil Procedure 12(c). (See Am. Pet.;
           Defendant's Motion for Judgment on the Pleadings ("Mot.")
            (Dkt. 12-1); Plaintiffs' Opp. ("Opp.") (Dkt. 14); Defendant's Re-
           ply ("Reply") (Dkt. 15) .) For the reasons explained below, the
           court DENIES Plaintiffs' petition for relief pursuant to CPLR Arti-
           cle 78 and GRANTS Defendant's motion for judgment on the
           pleadings. The court further DISMISSES Plaintiffs' declaratory
           judgment claims, request for money damages, and attorneys' fees
           and litigation expenses.

           I.   FACTUAL BACKGROUND

           The following allegations are drawn from Plaintiffs' Amended Pe-
           tition and exhibits attached thereto, the CFB's Answer and
           exhibits attached thereto, as well as the public filings on the
           docket, of which the court takes judicial notice. 7



           7 In reviewing a motion for judgment on the pleadings, courts "draw all

           facts-which [they] assume to be true unless contradicted by more specific
           allegations or documentary evidence-from the Complaint and from the
           exhibits attached thereto." Kirkendall v. Halliburton, Inc., 707 F.3d 173,
           175 n.1 (2d Cir. 2013); see aLso Lively v. WAFRA Inv. Advisory Grp, Inc., 6
           F.4th 293, 306 (2d Cir. 2021) ("[O]n a motion for judgment on the plead-
           ings, courts may consider all documents that qualify as part of the non-
           movant's 'pleading,' including (1) the complaint or answer, (2) documents
           attached to the pleading, (3) documents incorporated by reference in or
           integral to the pleading, and (4) matters of which the court may take judi-
           cial notice."). Courts may also "consider factual allegations in ... the
           answer." F.D.I.C. v. Mortg. Zone, Inc., No. 8-CV-3369 (TCP), 2010 WL
           4000158, at *5 n.4 (E.D.N.Y. Oct. 12, 2010); see aLsoDavisv. 2191 Niagara
           St., LLC, 351 F. Supp. 3d 394,399 (W.D.N.Y. 2019) (noting the court may




                                               3
Case 1:25-cv-03380-NGG-LKE           Document 18           Filed 07/11/25         Page 4 of 61 PageID #:
                                           1155




                 A.   CFB Matching Funds Program
           The CFB is a five-member independent and nonpartisan agency
           of the City of New York established by the New York City Cam-
           paign Finance Act C'CFA"). (Deel. of Paul S. Ryan ("First Ryan
           Deel.") (Dkt. 11-1) 'I 2; 8 see also Am. Pet. 'I 23.) The CFB derives
           its rulemaking authority from the CFA and the New York City
           Charter. See N.Y.C. Admin. Code § 3-708(8); N.Y.C. Charter§§
           1051-52. (First Ryan Deel. 'I 3; Am. Pet. 'I 102.) As relevant here,
           the CFB promulgated the New York City Campaign Finance
           Board Rules (the "CFB Rules" or "Board Rules") pursuant to its
           rulemaking authority. (First Ryan Deel. 'I 3.)
           The Board administers the New York City Campaign Finance Pro-
           gram (the "Program"), which provides public matching funds to
           eligible candidates running for New York City public office who
           satisfy various eligibility requirements. (First Ryan Deel. 'I 4; see
           also Am. Pet. 'I 31.) Participating candidates who qualify for
           matching funds receive $8 in public funds for every dollar a New
           York City resident contributes (up to $250 per contributor) to
           that candidate's campaign. (First Ryan Deel. '111.) There are 13
           payment dates for the 2025 election cycle. (Id. '112; see also Sec-
           ond Deel. of Paul S. Ryan ("Second Ryan Deel." (Dkt. 15-1) '12.)
           The CFB reassesses the participant's eligibility for public match-
           ing funds on each payment date, making the most recent
           payment determination the operative one by the Board. (First


           also draw uncontroverted facts from the exhibits attached to the defend-
           ant's answer). The court may also take judicial notice of declarations filed
           in support of parties' briefs that are filed on the public docket. See Allstate
           Ins. Co. v. A & F Med. P.C., No. 14-CV-6756 (JBW), 2017 WL 4350418, at
           *7 n.12 (E.D.N.Y. Apr. 24, 2017) ("[T]he Court may consider documents
           that are relied upon in the pleadings and any matters of which judicial
           notice maybe taken."); see also Caseyv. Odwalla, Inc., 338 F. Supp. 3d 284,
           294 (S.D.N.Y. 2018) ("Courts may take judicial notice of public documents
           or matters of public record.").
           8 Ryan is the Executive Director of the CFB. (First Ryan Deel. '11.)




                                                 4
Case 1:25-cv-03380-NGG-LKE        Document 18       Filed 07/11/25      Page 5 of 61 PageID #:
                                        1156




            Ryan Deel. '113.) As relevant here, participating candidates must
           file a written certification stating that they are choosing to par-
           ticipate in the Program and comply with various requirements,
           including: "responding to Board staffs requests for information
           and documentation" and "fulfilling the requirements of section
           12-110 of the Admin. Code, relating to the filing of disclosures
           with the New York City Conflicts of Interest Board ('COIB')." (Id.
           '1 7 (citing Admin. Code §§ 3-703(1)(c), (l)(d), (l)(D, (l)(g),
           (1)(1), and (6)); see also Am. Pet. '135.)
           The CFB Rules establish mandatory eligibility criteria for public
           matching funds. (First Ryan Deel. '18.) For example, the manda-
           tory ineligibility criteria under CFB Rules 3-01 (d) (i) (A) (2) and
            (3), provide, respectively, that public funds will not be paid to a
           candidate (i) who fails to provide the Board, upon the Board's
           request and by the deadline imposed by the Board, documents or
           records required by Chapter 4 of the CFB Rules, or other infor-
           mation that verifies campaign activity, and (ii) where the
           difference between the candidate's reported receipts and docu-
           mented receipts exceeds 10%. (Id.) Similarly, CFB Rule 3-
           01 (d) (ii) (A) (4)'s mandatory ineligibility criterion provides that
           public funds shall not be paid to a candidate if the candidate fails
           to demonstrate compliance with Admin. Code § 12-110 as re-
           quired by § 3-703(1)(m) of the same. (Id.) Furthermore, CFB
           Rule 3-05 (b) requires the candidate to demonstrate compliance
           with Admin. Code§ 12-110 three days before the next matching
           funds payment date. (Id.)
           The Board can also find candidates ineligible for matching funds
           on a discretionary basis pursuant to CFB Rules 3-01 (d) (i) (B) and
           (d) (ii) (B). As relevant here, under CFB Rule 3-0l(d) (i) (B), the
           Board may deny a public funds payment to a candidate "if there
           is reason to believe that the candidate has committed a violation
           of the [CFA]" or the Board Rules. (See id.) CFB Rule 3-
           0l(d) (i) (B) provides that the CFB may deny public funds to a




                                            5
Case 1:25-cv-03380-NGG-LKE          Document 18           Filed 07/11/25         Page 6 of 61 PageID #:
                                          1157




              candidate "if there is reason to believe that, in the course of Pro-
              gram participation, the candidate has engaged in conduct
              detrimental to the Program that is in violation of any other appli-
              cable law." (Id.)
              Moreover, CFB Rule 3-01 (a) provides that the CFB must deter-
              mine that the candidate has met all eligibility requirements
              before a candidate can receive matching funds. (Id. 'f 9.) And
              pursuant to CFB Rule 7-09(a), after the CFB provides a written
              determination to a candidate with the basis for payment or non-
              payment of public funds, the candidate may petition the CFB for
              reconsideration of the determination. (See id. 'f 10.) A candidate
              waives his right to appear before the CFB unless the petition in-
              cludes a request to do so. (Id.)
                  B. Adams Campaign Matching Fund Denials
              The CFB denied the Adams Campaign matching funds in Decem-
              ber 2024, January 2025, March 2025, and April 2025. (Am. Pet.
              'f'f 37, 41, 44, 48.) The chart below summarizes the CFB's bases
              for each denial. (See id.)


                    Reason to Believe       Candidate's         Candidate's          10% or Greater
                   Candidate Engaged in      Failure to        Failure to File      Variance in Gross
                   Detrimental Conduct    Respond to CFB     Annual Disclosure          Receipts




 April 2025                Yes                 Yes                  Yes                   No

              The court now details the CFB's bases for the denials.




                                              6
Case 1:25-cv-03380-NGG-LKE          Document 18         Filed 07/11/25       Page 7 of 61 PageID #:
                                          1158




                     1.   Reason to Believe Mayor Adams Engaged in
                          Conduct Detrimental to the Program in Violation
                          of the Law
           On September 26, 2024, federal prosecutors in the Southern Dis-
           trict of New York ("SDNY'') unsealed a five-count indictment (the
           "Indictment") charging Mayor Adams with various crimes. (First
           Ryan Deel. 'I 16.) The Indictment charged Mayor Adams with
           wire fraud, bribery, campaign finance violations involving contri-
           butions from foreign nationals, and conspiracy to commit the
           aforementioned crimes. (Id.) Specifically, it alleged that Mayor
           Adams was part of a scheme to use straw donors to hide illegal
           contributions and obtain matching funds. (Id.) Thereafter, fol-
           lowing the recommendation of the CFB staff, on December 16,
           2024, the CFB held a public meeting during which the Board
           voted to deny the Adams Campaign matching funds. (Id. 'I 22;
           Am. Pet. 'I 37.) In a supplemental notice issued to the Adams
           Campaign on December 18, 2024, the CFB explained:
                The Board has reason to believe that Eric Adams (the "Can-
                didate") has, in the course of public funds program (the
                "Program") participation, engaged in conduct detrimental to
                the Program that is in violation of federal and City law, in-
                cluding the Campaign Finance Act and Board Rules, as
                described in the September 26, 2024 indictment of Eric Ad-
                ams (see United States v. Adams, 24 CR 556), and is therefore
                ineligible for a public funds payment. Pursuant to Board
                Rules 3-0l(d)(i)(G) and (ii)(I),[9J the Board's reason to be-
                lieve that the Candidate has violated federal and City laws is
                a basis for ineligibility for public funds.
           (Suppl. Not. Dated 12/18/2024 ("December Not.") (Dkt. 1-1 at
           ECF p. 59) at ECF pp. 59-60; see also Am. Pet. 'I 40.) In January

           9 The CFB notice cites Rules 3-0l(d)(i)(G) and (ii)(I), which are substan-

           tially identical versions of current Rules 3-0l(d)(i)(B) and (ii)(B),
           respectively, that went into effect on December 19, 2024.




                                               7
Case 1:25-cv-03380-NGG-LKE       Document 18       Filed 07/11/25     Page 8 of 61 PageID #:
                                       1159




           2025 and March 2025, the CFB again denied the Adams Cam-
           paign matching funds because, among other reasons, the CFB
           had reason to believe, based on the Indictment, that Mayor Ad-
           ams, in the course of Program participation, had engaged in
           conduct detrimental to the Program and in violation of law, in-
           cluding the CFA and the Board Rules. (First Ryan Deel. If'! 31, 40-
           43.)
           On April 2, 2025, Judge Dale E. Ho of the SDNY dismissed the
           Indictment against Mayor Adams with prejudice. (See id. 'I 46;
           see also Am. Pet.'[ 8.) And on the morning of April 15, 2025, CFB
           staff briefed the CFB and recommended that the CFB deny the
           Adams Campaign matching funds. (First Ryan Deel. 'I 49.) Ac-
           cordingly, later that morning, the CFB held a public meeting and
           voted to deny the Adams Campaign matching funds. (Id. 'I 50;
           see also Am. Pet. 'I 48.) In a supplemental notice issued to the
           Adams Campaign on April 15, 2025, the CFB explained:
              The Board has reviewed the information contained in the
              September 26, 2024 indictment of Eric Adams (see United
              States v. Adams, 24 CR 556); a complaint alleging crimes
              committed by Adams' associate Mohamed Bahi in conjunc-
              tion with an alleged straw donation scheme for Adams' 2021
              mayoral campaign; a February 7, 2025 letter from former
              United States Attorney for the Southern District of New York
              Danielle Sassoon to Judges Dale E. Ho and Analisa Torres of
              the Southern District of New York, notifying them of Bahi's
              alleged intent to plead guilty to conspiracy to commit wire
              fraud; an information alleging that Adams' associate Erden
              Arkan committed wire fraud, in conjunction with an alleged
              straw donation scheme for Adams' 2021 mayoral campaign;
              the transcript of Arkan's allocution in which he pled guilty to
              that crime; ... and Judge Ho's April 2, 2025 Opinion and
              Order dismissing the charges against Adams with prejudice.
              The Board has reason to believe that Eric Adams has, in the




                                          8
Case 1:25-cv-03380-NGG-LKE       Document 18       Filed 07/11/25      Page 9 of 61 PageID #:
                                       1160




               course of public funds program participation, engaged in
               conduct detrimental to the Program that is in violation of
               federal, state, and/or City law, including the Campaign Fi-
               nance Act and Board Rules.
           (Suppl. Not. Dated 4/15/2025 ("April Not.") (Dkt. 1-1 at ECF p.
           78) at ECF p. 78; see also Am. Pet. 'I 51.)
                    2.   Other Bases
                    a.   Failure to Respond to the CFB's Request for
                         Information
           On November 15, 2024, Jesse Schaffer, Director of Special Com-
           pliance for the CFB, sent a letter to Vito Pitta, counsel to the
           Adams Campaign, requesting documents and communications
           relating to five fundraisers referenced in the Indictment, contri-
           butions from employees of Bay Atlantic University also
           referenced in the Indictment, and "any other documents, affida-
           vits or arguments that support the 2025 Campaign's eligibility to
           receive public funds." (Schaffer Letter (Dkt. 11-2 at ECF p. 338)
           at ECF pp. 338-39.) The letter requested the Adams Campaign to
           submit the requested information by December 6, 2024 and
           noted that "[f]ailure to respond timely or adequately may result
           in suspension of public funds payments." (Id. at ECF p. 339 .) One
           day before the deadline, Mr. Pitta informed Mr. Schaffer that the
           Adams Campaign would not be responding to the requests be-
           cause "the requests relate specifically to events that were
           referenced in the Indictment." (First Ryan Deel. 'l 18.)
           In its December 2024 supplemental notice to the Adams Cam-
           paign regarding the denial of matching funds, the CFB explained:
               Campaigns must provide to the Board, upon its request, doc-
               uments, records, or other information that verifies campaign
               activity and failure to respond can make a campaign ineligi-
               ble for public funds pursuant to Board Rule 3-




                                          9
Case 1:25-cv-03380-NGG-LKE           Document 18 Filed 07/11/25                  Page 10 of 61 PageID #:
                                            1161




                0l(d)(i)(B)) 10J On November 15, 2024, CFB staff made a
                request for documentation and information related to alle-
                gations in the indictment from the Campaign with a response
                deadline of December 6, 2024. On December 5, 2024, an at-
                torney for the Campaign called CFB Staff and left a voicemail
                stating that the Campaign would not respond to the CFB
                staffs request at this time because the requests were related
                to incidents referenced in the indictment. This failure to re-
                spond to a request for information is a basis for ineligibility
                for public funds.
            (December Not. at ECF p. 60; see also Am. Pet. 'I 40.) The CFB
            cited the Adams Campaign's failure to provide the requested doc-
            umentation and information to the CFB as a basis for its denial
            of matching funds to the Adams Campaign in January 2025 and
            March 2025 11 as well. (First Ryan Deel. 'I'! 28, 31, 40-43.)
           After Judge Ho dismissed the Indictment with prejudice, at 10:38
           p.m. on April 14, 2025, Mr. Pitta responded, via an email letter,
           to the CFB's November 15, 2024 request for documents and com-
           munications. (Id. 'I 48; see also Am. Pet. 'I 52.) Mr. Pitta's letter
           stated that the Adams Campaign "reviewed [its] records and
           have found no documentation responsive to the request that has
           not already been submitted to the CFB." (Pitta Letter (Dkt. 11-2
           at ECF p. 543) at ECF p. 543.) The following morning, the CFB
           voted to deny the Adams Campaign matching funds. (First Ryan
           Deel. 'I 49; see also Am. Pet. 'I 48.) In its April 2025 supplemental
           notice issued to the Adams Campaign, the CFB explained that the
           campaign's failure to timely respond to the CFB's request for in-
           formation is a basis for ineligibility for public funds. (April Not.

           10 Again, while the CFB notice cites Rule 3-01 (d) (i) (B), the current version

           of this rule, effective as of December 19, 2024, is Rule 3-0l(d)(i)(A)(2).
           11 The March 17, 2025 determination mistakenly omitted the Adams Cam-

           paign's failure to provide the requested records as a basis. (First Ryan Deel.
           'l 23 n.6.)




                                                10
Case 1:25-cv-03380-NGG-LKE        Document 18 Filed 07/11/25            Page 11 of 61 PageID #:
                                         1162




            at ECF pp. 78-79; see also Am. Pet. «r 51.) The notice also
            acknowledged that while the "Campaign sent a response on April
            14, 2025 at 10:37 PM," it "was not reviewed prior to the 10 AM
            meeting of the Board on April 15, 2025." (April Not. at ECF p.
            79.)
                     b.   Noncompliance WithAdmin. Code§ 12-110
            On March 17, 2025, the CFB held a public meeting during which
            the Board voted to deny the Adams Campaign matching funds.
            (First Ryan Deel. «r«r 40-41; see also Am. Pet. «r 44.) In a nonpay-
            ment determination issued that same day, the CFB explained that
            the Adams Campaign was ineligible for payment "because it
            ha[d] not demonstrated compliance with Admin. Code§ 12-110,
            as determined by the Conflicts of Interest Board," which requires
            various employees, elected officials, and candidates, including
            the mayor and mayoral candidates, to file annual disclosures.
            (Nonpayment Determination Dated 3/17/2025 (Dkt. 1-1 at ECF
            p. 70).)
           Mayor Adams filed his annual disclosure ("COm disclosure") on
           April 14, 2025. (Am. Pet. ff 47.) On April 15, 2025, the CFB held
           a public meeting and voted to deny the Adams Campaign match-
           ing funds. (First Ryan Deel. «r 50; see also Am. Pet. «r 48.) In a
           determination issued that same day, the CFB stated that the "Ad-
           ams Campaign was ineligible for payment "because it ha[d] not
           demonstrated compliance with Admin. Code. § 12-110, as deter-
           mined by the Conflicts of Interest Board." (Am. Pet. «r 49; see also
           April Not. at ECF p. 78 (citing, inter alia, CFB Rule 3-
           0l(d) (ii)(A)(4)).) The New York City Conflicts oflnterest Board
           ("COm") had not accepted Mayor Adams' disclosure as of April
           21, 2025, because "it was not in compliance with Section 12-110
           of the Admin. Code, and therefore was not completed." (First
           Ryan Deel. «r 54.) Mayor Adams filed an amendment to his com
           disclosure, and the com accepted it as complete on April 25,
           2025. (Id. «r«r 55-56.)




                                           11
Case 1:25-cv-03380-NGG-LKE         Document 18 Filed 07/11/25                Page 12 of 61 PageID #:
                                          1163




                     c.   Difference Between Reported and Documented
                          Gross Receipts Was Equal to or Greater Than 10%
            On March 17, 2025, the CFB held a public meeting during which
            the Board voted to deny the Adams Campaign matching funds.
            (Id. 'l'! 40-41; see also Am. Pet. '144.) In a nonpayment determi-
            nation issued that same day, the CFB explained that "[t]he
            Campaign is not eligible for payment because the difference be-
            tween the Campaign's reported receipts and documented
            receipts is equal to or greater than 10%." (Am. Pet. 'I 44 (citing,
            inter alia, Admin. Code§§ 3-703(1) (d) and (6), and CFB Rule 3-
            0l(d) (i) (C) 12 .)
                C. Appeal of the April 2025 Nonpayment
                   Determination
           The April 2025 nonpayment determination is the "operative de-
           termination by the Board" with respect to the Adams Campaign
           because it is the Board's "most recent payment determination."
            (First Ryan Deel. '! 13.) The CFB denied the Adams Campaign
           matching funds on April 15, 2025 for three independent reasons.
           First, "[t]he Adams Campaign had not demonstrated compliance
           with Admin. Code§ 12-110, as determined by the COIB." (Id. 'I
           52 (citing Admin. Code§ 3-703(1)(m)).) Second, "[t]he Adams
           Campaign had failed to respond to the November 15 th Request
           by the December 6, 2024 deadline set by the Board and in time
           for the Board to review the response prior to its April 15th meet-
           ing." (Id.) And third, the "Board had reason to believe that Mayor
           Adams had, in the course of public funds program participation,
           engaged in conduct detrimental to the Program that is in viola-
           tion of federal, state, and/or city law, including the Act and the
           Board Rules." (Id.)


           12 The CFB's determination appears to have referenced a prior version of

           the current CFB Rule 3-01 (d) (i) (A) (3) that went into effect on December
           19, 2024.




                                              12
Case 1:25-cv-03380-NGG-LKE         Document 18 Filed 07/11/25                Page 13 of 61 PageID #:
                                          1164




             The Adams Campaign responded to the CFB's November 15,
             2024 request for certain records on April 14, 2025. (Id. '[ 48; Am.
             Pet.'[ 52; see Pitta Letter.) Additionally, Mayor Adams submitted
             an amended corn disclosure on April 25, 2025, and the corn
             accepted it as complete on the same day. (First Ryan Deel. 'I 56;
            Am. Pet. '1171.) Also on April 25, 2025, the Adams Campaign
            filed a petition for reconsideration of the April 15, 2025 nonpay-
            ment determination pursuant to CFB Rule 7-09. 13 (First Ryan
            Deel. 'I 57; Am. Pet. 'I 52; Adams Campaign Appeal (Dkt. 1-1 at
            ECF p. 81).) The petition "advised the CFB that Mayor Adams
            had satisfied the requirements of Administrative Code § 12-110
            by filing his annual disclosure on April 14, 2025, and that the
            information requested in November 2024 had been submitted on
            April 14, 2025." (Am. Pet. 'I 52.) It "also contested the sufficiency
            of the CFB's determination as a matter of law." (Am. Pet. '[ 52.)
            Noting that "[i]t is a core principle of due process that a govern-
            ment agency provide sufficient notice and opportunity to be
            heard," the Adams Campaign argued that its "ability to petition
            for reconsideration ... is meaningless when the CFB's prelimi-
            nary determination of ineligibility gives no notice of the alleged
            unlawful conduct that is the basis for the determination." (Adams
            Campaign Appeal at ECF p. 83.) Mayor Adams waived his right
            to appear before the Board in connection with the petition. (Id.
            at ECF p. 81.)
           The CFB delegated the authority to make a determination re-
           garding the petition to the Chair of the Board, Frederick
           Schaffer. 14 (First Ryan Deel. 'I 61; Am. Pet. 'I 54.) On May, 2,

           13 The Adams Campaign did not file a petition for reconsideration of the

           December 2024, January 2025, or March 2025 nonpayment determina-
           tions. (First Ryan Deel. '!'I 27, 33, 45.)
           14 CFB Rule 7-09(c) (i) provides that when a candidate waives the right to

           appear before the CFB, and if the CFB is unable to convene within five
           business days of receipt of the petition, then the CFB may delegate the




                                              13
Case 1:25-cv-03380-NGG-LKE         Document 18 Filed 07/11/25              Page 14 of 61 PageID #:
                                          1165




            2025, the Chair of the Board denied the Adams Campaign's peti-
            tion. (First Ryan Deel. '[ 63; Am. Pet. 'I 53.) Also on May 2, 2025,
            Joseph Gallagher, the CFB's General Counsel, emailed the coun-
            sel to the Adams Campaign a Corrected April 15 Nonpayment
            Determination and an Amended April 15 Supplemental Notice
            ("Amended Notice"). (First Ryan Deel. '1'164-65; Gallagher Email
            (Dkt. 1-1 at ECF p. 88); Am. Nonpayment Determination Dated
            5/2/2025 ("Am. Nonpayment Determination") (Dkt. 1-1 at ECF
            p. 91); Am. Suppl. Not. Dated 5/2/2025 ("Am. Not.") (Dkt. 1-1
            at ECF p. 94).)
            In his email, Mr. Gallagher explained that a "Rule 7-09 Petition
            is not an opportunity for the Campaign to show that they have
            resolved their ineligibility for a public funds payment, rather the
            Petition must demonstrate that at the time the payment determi-
            nation was made, April 15, the Campaign was eligible for
            payment." (Gallagher Email at ECF p. 88.) In addition, Mr. Gal-
            lagher stated that Mayor Adams' COIB disclosure on April 14,
            2025, was both incomplete and not submitted at least three days
            before the payment date as required by CFB Rule 3-05(b). (Id.)
           The Amended Notice informed the Adams Campaign that
           "[b]ased on a preliminary analysis, ... pursuant to Board Rules
           3-0l(d)(i)(A)(2), 3-0l(d)(ii)(A)(4), and 3-0l(d)(ii)(B)," the
           campaign failed "to demonstrate eligibility for a public funds pay-
           ment." (Am. Not. at ECF p. 94; see also Am. Nonpayment
           Determination at ECF p. 91 (providing three reasons for denial
           of matching funds).) With respect to the CFB's reason to believe
           that Mayor Adams violated federal, state, and/or city laws, the
           Amended Notice identified a list of such violations based on the
           Indictment and other public documents. (Am. Not. at ECF pp. 94-
           95; see also Am. Pet.'[ 58.) As to the November 2024request, the
           Amended Notice explained that the Adams Campaign responded

           authority to make a determination regarding the petition to the Chair of
           the CFB or the Chair's designee. (First Ryan Deel.'! 60.)




                                             14
Case 1:25-cv-03380-NGG-LKE         Document 18 Filed 07/11/25                 Page 15 of 61 PageID #:
                                          1166




            to the CFB's November 2024 request on April 14, 2025, at 10:37
            p.m., and the response ''was not reviewed prior to the 10 AM
            meeting of the Board on April 15, 2025." 15 (Am. Not. at ECF p.
            95; see al.so Am. Pet. 'I 59.)
            On May 12, 2025, the CFB ratified the Chair's denial of the Ad-
            ams Campaign's petition. (First Ryan Deel. '[ 69; see al.so Am. Pet.
            '[ 60.) The following day, the CFB provided the Adams Campaign
            with a letter notifying the campaign of the CFB's determination.
            (First Ryan Deel. 'I 70; see al.so Am. Pet. 'I 60.) This lawsuit fol-
            lowed.

            II. PROCEDURAL HISTORY

           Plaintiffs filed this civil action against the CFB on May 27, 2025,
           in the Supreme Court of the State of New York, Kings County and
           amended their petition on June 5, 2025. 16 (See Not. of Removal
           '11.) Plaintiffs seek various forms of relief, including (i) ''vacating
           and setting aside the CFB's determination to deny matching cam-
           paign funds to the Adams campaign and directing the CFB to
           grant matching funds to the Adams Campaign," pursuant to
           CPLR Article 78; (ii) "declaring that by denying matching cam-
           paign funds to the Adams Campaign, the CFB violated the rights
           of Petitioners-Plaintiffs under the United States Constitution and
           the New York State Constitution," pursuant to CPLR 3001; and
           (iii) money damages, and attorneys' fees and litigation expenses,


           15 In addition, Mr. Gallagher wrote in his email that the "Campaign sub-

           mitted a response on April 14, 2025 at 10:37 PM. The response was
           submitted 130 days after the initial due date and less than 12 hours before
           the payment determination. This late response gave CFB staff insufficient
           time to evaluate the sufficiency of the response or whether the contents
           might have an impact on the Campaign's eligibility, and the Campaign has
           not offered good cause for why it was unable to comply with the request
           earlier." (Gallagher Email at ECF p. 88.)
           16 Plaintiffs discontinued their thirteenth and fourteenth causes of action

           of the Amended Petition pursuant to a stipulation. (Not. of Removal '! l.)




                                              15
Case 1:25-cv-03380-NGG-LKE         Document 18 Filed 07/11/25               Page 16 of 61 PageID #:
                                          1167




            pursuant to 42 U.S.C. §§ 1983 and 1988, respectively. (Am. Pet.
            at ECF pp. 143-44.)
            The CFB removed the case from Supreme Court of the State of
            New York, Kings County to this court pursuant to 28 U.S.C. §§
            1441 and 1446 on June 16, 2025. (See Not. of Removal at 1, 10.)
            The CFB answered the Amended Petition on June 23, 2025. (See
            Answer (Dkt. 11).) The court now turns to Defendant's fully
            briefed motion for judgment on the pleadings.

            III. LEGAL STANDARD
                A.   Judgment on the Pleadings
           Under the Federal Rules of Civil Procedure, "[a]fter the pleadings
           are closed-but early enough not to delay trial-a party may
           move for judgment on the pleadings." Fed. R. Civ. P. 12(c).
           "Judgment on the pleadings is appropriate where material facts
           are undisputed and where a judgment on the merits is possible
           merely by considering the contents of the pleadings." Sellers v.
           M.C. Floor Grafters, Inc., 842 F.2d 639, 642 (2d Cir. 1988). 17
           Thus, a party is entitled to judgment on the pleadings "only if it
           has established that no material issue of fact remains to be re-
           solved and that it is entitled to judgment as a matter of law."
           Juster Assocs. v. City of Rutland, Vt., 901 F.2d 266, 269 (2d Cir.
           1990). Ultimately, when deciding motions under Rule 12(c),
           courts "employ the same standard applicable to dismissals pur-
           suant to Rule 12(b)(6)." L-7 Designs, Inc. v. Old Navy, LLC, 647
           F.3d 419, 429 (2d Cir. 2011).
           To survive a motion to dismiss under Rule 12(b) (6), "a complaint
           must contain sufficient factual matter, accepted as true, to 'state
           a claim to relief that is plausible on its face."' Ashcroft v. Iqbal,
           556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,

           17 When quoting cases, unless otherwise noted, all citations and internal

           quotation marks are omitted, and all alterations are adopted.




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Case 1:25-cv-03380-NGG-LKE        Document 18 Filed 07/11/25            Page 17 of 61 PageID #:
                                         1168




            550 U.S. 544, 570 (2007)). Likewise, "[t]o survive a Rule 12(c)
            motion, the complaint must contain sufficient factual matter, ac-
            cepted as true, to state a claim to relief that is plausible on its
            face." Bank of N.Y. v. First Millennium) Inc., 607 F.3d 905, 922
            (2d Cir. 2010). "A claim has facial plausibility when the plaintiff
            pleads factual content that allows the court to draw the reasona-
            ble inference that the defendant is liable for the misconduct
            alleged." Iqbal, 550 U.S. at 570. A complaint must contain facts
            that do more than present a "sheer possibility that a defendant
            has acted unlawfully." Id. In deciding a motion to dismiss, the
            court accepts all factual allegations in the complaint as true and
            draws all reasonable inferences in the plaintiff's favor. See Fink v.
            Time Warner Cable, 714 F.3d 739, 740-41 (2d Cir. 2013). How-
            ever, allegations that "are no more than conclusions ... are not
            entitled to the assumption of truth." Hayden v. Paterson, 594 F.3d
            150, 161 (2d Cir. 2010).
                B. Sections 1983 and 1988
           Section 1983 provides a remedy for the deprivation of "any
           rights, privileges, or immunities secured by the Constitution and
           laws." 42 U.S.C. § 1983. A Section 1983 claim has two essential
           elements. See Cornejo v. Bell, 592 F.3d 121, 127 (2d Cir. 2010).
           First, the conduct at issue must have been committed by an actor
           acting under color of state law. Id. Second, the conduct at issue
           must have deprived a person of rights, privileges, or immunities
           secured by the Constitution or laws of the United States. Id. Sec-
           tion 1988 provides that the court may award the attorney's fees
           to the prevailing party in a Section 1983 proceeding. 42 U.S.C. §
           1988(b).
                C. Article 78, Agency Determination, and
                   Supplemental Jurisdiction
           CPLR Article 78 provides an avenue for parties to challenge an
           administrative agency's determination for various reasons; two
           of those reasons are when the determination ''was affected by an




                                            17
Case 1:25-cv-03380-NGG-LKE       Document 18 Filed 07/11/25             Page 18 of 61 PageID #:
                                        1169




            error of law or was arbitrary and capricious." N.Y. C.P.L.R. §
            7803(3); see also Gudema v. Nassau Cnty., 163 F.3d 717, 724 (2d
            Cir. 1998) (recognizing that "constitutional issues can be decided
            in Article 78 proceedings"). The court "may not disturb an ad-
            ministrative action unless ... the challenged action was arbitrary
            and capricious." In re Stevens v. N. Y. State Div. of Crim. Just.
            Servs., 40 N.Y.3d 505, 525 (2023). "An action is arbitrary and
            capricious when it is taken without sound basis in reason or re-
            gard to the facts." In re Peckham v. Calogero, 12 N.Y.3d 424,431
            (2009). And the court "must sustain" a determination "supported
            by a rational basis" even if the court "would have reached a dif-
            ferent result than the one reached by the agency." Id.
           An agency may "adopt regulations that go beyond the text of its
           enabling legislation, so long as those regulations are consistent
           with the statutory language and underlying purpose." In re
           Acevedo v. N. Y. State Dep't of Motor Vehicles, 29 N.Y.3d 202, 221
            (2017). ''The standard for judicial review of an administrative
           regulation is whether the regulation has a rational basis and is
           not unreasonable, arbitrary or capricious." Id. at 226. Judicial re-
           view of an agency's determination is limited to the facts and
           record adduced before the agency. See In re Rizzo v. N. Y. State.
           Div. of Haus. & Cmty. Renewal, 6 N.Y.3d 104, 110 (2005). "As a
           general rule, 'courts must defer to an administrative agency's ra-
           tional interpretation of its own regulations in its area of
           expertise."' Andryeyeva v. N.Y. Health Care, Inc., 33 N.Y.3d 152,
           174 (2019) (quoting In re Peckham, 12 N.Y.3d at 431). An
           agency's regulation should be upheld if it is not "irrational or un-
           reasonable." Id.
           Furthermore, as relevant here, "in any civil action of which the
           district courts have original jurisdiction, the district courts shall
           have supplemental jurisdiction over all other claims that are so
           related to claims in the action ... that they form part of the same




                                           18
Case 1:25-cv-03380-NGG-LKE       Document 18 Filed 07/11/25            Page 19 of 61 PageID #:
                                        1170




            case or controversy under Article III of the United States Consti-
            tution." 28 U.S.C. § 1367(a). The Second Circuit has not resolved
            the question of whether a federal court may exercise supple-
            mental jurisdiction over claims brought pursuant to Article 78.
            See DiMartile v. Hochul, 80 F.4th 443, 446 n. l (2d Cir. 2023)
            (acknowledging that "Article 78 is a 'special proceeding' under
            the ... CPLR that is intended to provide 'a speedy correction' of
            improper state administrative action" but declining to settle the
            intracircuit split); see also Garofalo v. City of New York, No. 22-
            CV-7620 (NRM) (VMS), 2023 WL 3792514, at *5 (E.D.N.Y. June
            2, 2023) (collecting cases).
           However, "Supreme Court precedent suggests ... that federal
           courts do in fact have jurisdiction over Article 78 claims." Resi-
           dents and Fa.ms. United to Save Our Adult Homes v. Zucker, No.
           16-CV-1683 (NGG) (RER), 2017 WL 5496277, at *12-13
            (E.D.N.Y. Jan. 24, 2017); see also Carver v. Nassau Cnty. Interim
           Fin. Auth., 730 F.3d 150, 155 (2d Cir. 2013) (noting that Su-
           preme Court precedent "suggest[s]" that Article 78 does not
           "deprive a federal court of jurisdiction over claims brought under
           that provision . . . as long as those claims would otherwise fall
           within the court's pendent jurisdiction"). This is especially true
           where ''both sides consent[]" to it. See Cartagena v. City of New
           York, 345 F. Supp. 2d 414, 426 (S.D.N.Y. 2004) (exercising sup-
           plemental jurisdiction over Article 78 claims with the parties'
           consent "[t] o avoid the inefficiencies that would results from par-
           allel state and federal litigation"); see also Gala v. Kavanagh, No.
           23-CV-1543 (NRM) (RER), 2023 WL 2356025, at *2 (E.D.N.Y.
           Mar. 2, 2023) (exercising supplemental jurisdiction over Article
           78 claims with the parties' consent because "time is of the es-
           sence").
               D. CPLR3001
           In relevant part, pursuant to CPLR 3001, New York state courts
           "may render a declaratory judgment having the effect of a final




                                           19
Case 1:25-cv-03380-NGG-LKE       Document 18 Filed 07/11/25             Page 20 of 61 PageID #:
                                        1171




           judgment as to the rights and other legal relations of the par-
            ties[.]" C.P.L.R. 3001. However, when plaintiffs bring a "claim
            under ... § 3001, New York's equivalent to the federal Declara-
            tory Judgment Act[,]" federal courts can "charitably construe
            [the] claim as one for a declaratory judgment pursuant to the
            Declaratory Judgment Act[.]" Haller v. Usman, No. 24-CV-977
            (KPF), 2025 WL 605572, at *9 (S.D.N.Y. Feb. 25, 2025). Similar
            to CPLR 3001, the Declaratory Judgment Act is discretionary. See
            28 U.S.C. § 2201(a) ("In a case of actual controversy within its
           jurisdiction, ... any court of the United States, upon the filing of
            an appropriate pleading, may declare the rights ... of any inter-
           ested party seeking such declaration[.]" (emphasis added)); see
           also Dow Jones & Co. v. Harrods Ltd., 346 F.3d 357, 359 (2d Cir.
           2003) (acknowledging that "[c]ourts have consistently inter-
           preted" the Declaratory Judgment Act's "permissive language as
           a broad grant of discretion to district courts to refuse to exercise
           jurisdiction").
           Where "Plaintiffs' declaratory judgment claim seeks resolution of
           legal issues that will, of necessity, be resolved in the course of the
           litigation of the other causes of action[,]" courts dismiss it as "du-
           plicative in that it seeks no relief that is not implicitly sought in
           the other causes of action." Soft Classic S.A. de C. V. v. Hurowitz,
           444 F. Supp. 2d 231, 249 (S.D.N.Y. 2006); see also Amusement
           Indus.) Inc. v. Stem, 693 F. Supp. 2d 301, 311 (S.D.N.Y. 2010)
           (reasoning that "[t]he fact that a lawsuit has been filed that will
           necessarily settle the issues for which the declaratory judgment
           is sought suggests that the declaratory judgment will serve no
           useful purpose").

           N. DISCUSSION

           The Adams Campaign challenges the CFB's denials of matching
           funds made in December 2024, January 2025, March 2025, and
           April 2025. (See Am. Pet.'! 2.) The April 2025 denial, however,
           is the operative decision. (First Ryan Deel. '! 13.) And for that




                                            20
Case 1:25-cv-03380-NGG-LKE          Document 18 Filed 07/11/25                  Page 21 of 61 PageID #:
                                           1172




            decision made by the Chair of the Board of the CFB, as well as
            the ratification of the same made by the full Board, which was
            later upheld after the Adams Campaign petitioned for review, the
            CFB has provided three reasons. (Id. 'I 52.) Each one of those
            three reasons constitutes an independent basis for the CFB's de-
            cision to deny matching funds. Plaintiffs raise challenges as to
            each basis.
            The court finds that the CFB provided two independent valid
            grounds for denying the Adams Campaign public matching
            funds: (1) failure to timely respond to the CFB's request for in-
            formation and (2) failure to timely file the COIB disclosure. To
            that end, the court grants the CFB's motion for judgment on the
            pleadings and denies Plaintiffs' request for relief pursuant to
            CPLR Article 78. 18 See Emps. Ret. Sys. for City of Providence v. Bd.
           of Governors of Fed. Res. Sys., No. 24-MC-349 (AS), 2025 WL
            1736602, at *9 (S.D.N.Y. June 23, 2025) ("When an agency of-
           fers multiple grounds for a decision, we will affirm the agency so
           long as any of the grounds is valid, unless it is demonstrated that
           the agency would not have acted on that basis if the alternative
           grounds were unavailable.") (citing BDPCS, Inc. v. FCC, 351 F.3d
           1177, 1183 (D.C. Cir. 2003)); see also Sherv. Coughlin, 739 F.2d
           77, 82 (2d Cir. 1984) ("[S]tate action taken on the basis of both
           valid and invalid motivations is not constitutionally tainted by
           the invalid motive if the action would in any event have been
           taken on the constitutionally valid basis."). Furthermore, the
           court's grant of Defendant's motion for judgment on the plead-
           ings and denial of Plaintiffs' request for injunctive relief and
           money damages "necessarily settle [s] the issues for which the de-
           claratory judgment is sought" and "suggests that the declaratory


           18 The court notes that the parties consented to this court's exercise of sup-

           plemental jurisdiction over Plaintiffs' claims grounded in CPLR Article 78
           during the status conference held on June 24, 2025. (Min. Entry Dated
           6/24/2025.)




                                                21
Case 1:25-cv-03380-NGG-LKE      Document 18 Filed 07/11/25            Page 22 of 61 PageID #:
                                       1173




            judgment will serve no useful purpose." Amusement Indus., 693
            F. Supp. 2d at 311. Accordingly, Plaintiffs' declaratory judgment
            claims are also dismissed.
                A.   COIB Disclosure
            The CFB is entitled to judgment on the pleadings because undis-
            puted material facts demonstrate that Mayor Adams failed to
            make a timely corn disclosure before the April 15, 2025 meet-
            ing. The CFA requires mayoral candidates to "fulfill the
            requirements of section 12-110 of the administrative code of the
            city of New York, including payment of any penalties as deter-
            mined by the" corn. Admin. Code§ 3-703(1)(m). Furthermore,
            in pertinent part, the CFA states that:
               A participating candidate shall fulfill the requirements of sec-
               tion 12-110 of the administrative code to the satisfaction of
               the [COrn] by the twenty-fifth day after the last day for filing
               his or her designating or independent nominating petitions
               pursuant to the election law in the year of the covered elec-
               tion, or such other later date as the [CFB] shall provide by
               rule, ... provided that a participating candidate seeking pub-
               lic funds for a December 15, January 15, February 15, March
               15, or April 15 payment date shall file a report or reports as
               required by subparagraph (a) of paragraph 2 of subdivision
               b of section 12-110 and in order for such candidate to receive
               public funds on any such payment date the participating can-
               didate shall fulfill the requirements of section 12-110 to the
               satisfaction of the [COrnJ by no less than three days prior
               to such payment date.

           Admin. Code§ 3-703(1)(m)(ii) (emphasis added); see also CFB
           Rule 3-05(b). The relevant election law provides that "[a] peti-
           tion for an independent nomination for an office to be filled at
           the time of a general election shall be filed not earlier than
           twenty-four weeks and not later than twenty-three weeks pre-
           ceding such election." N.Y. Election L. § 6-158(9). At the same
           time, the corn "shall establish by rule the dates, not to exceed




                                          22
Case 1:25-cv-03380-NGG-LKE          Document 18 Filed 07/11/25                 Page 23 of 61 PageID #:
                                           1174




            31 days prior to the relevant payment date, by which a person
            who intends to seek payment on the payment dates of February
            15, March 15, or April 15 shall file" a corn disclosure. Admin.
            Code§ 12-110(b)(2)(a). In turn, the corn, under its own rules,
            has determined that "for the payment date of April 15, the [COIB
            disclosure] must be submitted by March 21." corn Rule 4-05.
            Additionally, a "candidate who fails to adhere to the require-
            ments" of Admin. Code § 3-703(1)(m)(ii) may nevertheless
            satisfy it by fulfilling the requirements to the corn's satisfaction
            if the candidate "make [s] a claim for public funds upon satisfying
            the requirements of this paragraph and all other applicable law,
            rules and regulations." Admin. Code § 3-703(1)(m)(iii). How-
            ever, failure to satisfy Admin. Code § 3-703 (1) (m) (ii) to the
            corn's satisfaction in a timely fashion "may result in a delay of
            any payment of public funds." Id.
           Here, the parties agree that Mayor Adams did not file his COIB
           disclosure at least three days before the April 15, 2025, payment
           date to the corn's satisfaction. (See Opp. at 30; Reply at 1.) In-
           deed, not only did Mayor Adams submit his corn disclosure on
           April 14, 2025-the day before the April 15 payment date-but
           his corn disclosure was also incomplete and therefore not to the
           corn's satisfaction. 19 (Gallagher Email at ECF p. 88; First Ryan
           Deel. 'l'l 54-55.) Nevertheless, Plaintiffs contend that because
           Mayor Adams successfully filed his corn disclosure on April 25,
           2025, the CFB "had no lawful basis for deciding on May 12, 2025
           that the Adams Campaign was not eligible for campaign funds."
           (Opp. at 30.)
           Plaintiffs' argument stems from a misunderstanding of the May
           12, 2025, decision. This decision was the CFB's ratification of the
           Chair of the Board's denial of the Adams Campaign's petition

           19 The court recognizes that Mayor Adams, before his indictment was dis-

           missed, had other priorities besides filing his COIB disclosure on time.




                                               23
Case 1:25-cv-03380-NGG-LKE             Document 18 Filed 07/11/25                  Page 24 of 61 PageID #:
                                              1175




            filed pursuant to CFB Rule 7-09. (First Ryan Deel. 'l'l 63, 69.) And
            a "Rule 7-09 Petition is not an opportunity for the Campaign to
            show that they have resolved their ineligibility for a public funds
            payment." (Gallagher Email at ECF p. 88; Reply at 2.) Rather,
            "the Petition must demonstrate that at the time the payment
            determination was made, April 15, the Campaign was eligible
            for payment." (Gallagher Email at ECF p. 88.) (emphasis added).
            Here, there is no dispute that the Adams Campaign was not eli-
            gible for payment on April 15, 2025 because Mayor Adams did
            not file his COIB disclosure at least three days before the April 15
            date to the COIB's satisfaction. 20
            Plaintiffs argue that "[e]ven assuming the annual disclosure was
            the basis for the CFB's decision, the deadline for filing the annual
            disclosure is, at best, unclear." (Opp. at 28.) But the deadlines set
            forth byNewYorkelectionlaw, the COIB Rule 4-05, and the CFB
            Rules appear to be consistent. The relevant time window for
            Mayor Adams to file his petition for independent nomination for
            New York City mayoral general election was between May 20,
            2025, and May 27, 2025. N.Y. Election L. § 6-158(9). In compli-
            ance with that requirement, Mayor Adams "filed two
            independent nominating petitions" on May 27, 2025. 21 (Am.

            20 Plaintiffs' reliance on Gerson v. N. Y. C.   Campaign Fin. Bd. is misplaced.
           (Opp. at 30-31.) Gerson held that the CFB's denial of matching funds was
           arbitrary and capricious because it was based on an informal rule for which
           the CFB had no justification. 171 A.D.3d 648, 648-49 (1st Dep't 2019).
           Here, the CFB denied matching funds to the Adams Campaign pursuant to
           statutory requirement under the CFA. See Admin. Code§ 3-703(1)(m)(ii).
           21 Plaintiffs appear to confuse the deadline for filing a COIB disclosure pur-

           suant to N .Y. C. Admin. Code § 12-110 with the deadline for filing a petition
           for independent nomination for New York City mayoral general election.
           (Opp. at 29 (claiming "Mayor Adams's disclosure was filed on April 25,
           2025, well before this deadline," when referring to the deadline of May 27,
           2025, for filing a petition for independent nomination).) Again, the dead-
           line for filing the former was within 25 days of May 27, 2025, that is, June
           21, 2025. See Admin. Code § 3-703(1)(m)(ii); see also Election L. § 6-




                                                  24
Case 1:25-cv-03380-NGG-LKE        Document 18 Filed 07/11/25              Page 25 of 61 PageID #:
                                         1176




            Pet. 'f 61.) And ordinarily, he had until June 21, 2025, to file his
            com disclosure. See Admin. Code § 3-703(1)(m)(ii); see also
            Election L. § 6-158(9). However, to be eligible for matching
            funds on April 15, 2025, Mayor Adams had to file his com dis-
            closure by March 21, 2025. That is because N.Y.C. Admin. Code
            § 12-110(b)(2)(a) allows the com to sets its own deadline for
            candidates seeking payment for certain payment dates, including
            April 15, 2025. See com Rule 4-05. In addition, CFB Rule 3-
            05 (b) requires the candidate to "demonstrate compliance with
            the requirements of' CFB Rule 3-05(a) for the April 15, 2025
            payment date by April 12, 2025. And Mayor Adams clearly failed
            to comply with that requirement.
            Nevertheless, Mayor Adams's late com disclosure is not a com-
            plete bar to his claim for matching funds in the future; rather, it
            "may result in a delay of any payment of public funds by the
           board." Admin. Code§ 3-703(1)(m)(iii) (emphasis added). De-
           fendant agrees. (Reply at 3 (acknowledging that "failure to
           comply with § 12-110 in time for one payment date does not
           serve as a bar to payment on the next payment date").) The court
           recognizes that Mayor Adams appears to have satisfied the com
           disclosure requirements as of April 25, 2025. (First Ryan Deel. 'f
           56; Am. Pet. 'f 171.) However, the CFB does not meet between
           payment dates "on each occasion that a candidate failed to meet
           eligibility requirements on the last payment date," and "does not
           want to wait until the next payment date[.]" (Second Ryan Deel.
           'f 5.) Doing so ('would not be administrable" considering that
           ((there are more than 200 candidates seeking matching funds"
           during this campaign cycle. (Id.) Indeed, Mayor Adams was one
           of many candidates who were denied matching funds on April
           15, 2025 because they failed to demonstrate compliance with the
           com disclosure requirement. (Id. 'f 26.)

           158(9). The time window for filing the latter was between May 20, 2025,
           and May 27, 2025. See Election L. § 6-158(9).




                                            25
Case 1:25-cv-03380-NGG-LKE      Document 18 Filed 07/11/25           Page 26 of 61 PageID #:
                                       1177




            The court notes that the "Board staff expects to recommend that
            the Board, on the next payment date (July 15, 2025), find that
            Mayor Adams's amendment to his annual disclosure accepted by
            the corn as of April 25, 2025, satisfies Board Rule 3-
            0l(d) (ii) (A)(4) and Admin. Code§ 3-703(1)(m)." (Reply at 3-
            4.) However, the CFB is entitled to judgment on the pleadings
            because undisputed material facts show that on April 15, 2025,
            the Board properly denied the matching funds to the Adams
            Campaign for Mayor Adams failed to file his corn disclosure
            form on time to comply with Admin. Code § 3-703 (1) (m), as well
            as Admin. Code§ 12-110 and CFB Rules 3-0l(d)(ii)(A)(4) and
            3-05(b).
                B. Failure to Respond to the CFB's Request
           The CFB is also entitled to judgment on the pleadings because
           the Adams Campaign failed to timely respond to the CFB's re-
            quest for information and documents. The CFA and the CFB
           Rules provide the CFB with broad authority to seek documents
           and information. In pertinent part, the CFA states that "[t]o be
           eligible for optional public financing," a candidate must "obtain
           and furnish to the campaign finance board, and his or her prin-
           cipal committee or authorized committees must obtain and
           furnish to the board, any information it may request relating to
           his or her campaign expenditures or contributions and furnish
           such documentation and other proof of compliance[.]" Admin.
           Code§ 3-703(1)(d). Similarly, the CFB Rules state that "public
           funds will not be paid to a candidate" if "the candidate fails to
           provide to the Board, upon its request and by the deadline set
           forth by the Board, documents or records required by Chapter 4
           of these rules, or other information that verifies campaign activ-
           ity." CFB Rule 3-0l(d)(i)(A)(2).
           On November 15, 2024, the CFB sent a letter to counsel to the
           Adams Campaign, requesting certain records relating to the cam-
           paign's activities, including documents and events referenced in




                                          26
Case 1:25-cv-03380-NGG-LKE       Document 18 Filed 07/11/25             Page 27 of 61 PageID #:
                                        1178




            the Indictment. (Schaffer Letter at ECF pp. 338-39.) The CFB's
            letter set the deadline to respond for December 6, 2024, and
            noted that "[f]ailure to respond timely or adequately may result
            in suspension of public funds payments." (Id. at ECF p. 339 .) One
            day before the deadline, the Adams Campaign indicated to the
            CFB that it would not be responding to the requests because "the
            requests relate specifically to events that were referenced in the
            Indictment." (First Ryan Deel. 'l 18.)
            Judge Ho dismissed the Indictment against Mayor Adams with
            prejudice on April 2, 2025. (See id. 'I 46; see also Am. Pet. 'I 8.)
            More than ten days later-around 130 days after the deadline
            and less than 12 hours before the Board was set to meet for the
           April 15, 2025 payment date-the Adams Campaign notified the
            CFB that it "reviewed [its] records and have found no documen-
           tation responsive to the request that has not already been
           submitted to the CFB." (Pitta Letter at ECF p. 543; First Ryan
           Deel. 'l 48; Gallagher Email at ECF p. 88; see also Am. Pet. 'l 52.)
           On April 15, 2025, the CFB voted to deny the Adams Campaign
           matching funds. (First Ryan Deel. 'l'l 49-50; see also Am. Pet. 'I
           48.) The CFB explained that the campaign's failure to timely re-
           spond to the CFB's request for information is a basis for
           ineligibility for public funds. (April Not. at ECF pp. 78-79; see also
           Am. Pet. 'I 51.) The notice also acknowledged that while the
           "Campaign sent a response on April 14, 2025 at 10:37 PM," it
           ''was not reviewed prior to the 10 AM meeting of the Board on
           April 15, 2025." (April Not at ECF p. 79.)
           The Adams Campaign plainly did not comply with Admin. Code
           § 3-703(1)(d) and CFB Rule 3-0l(d)(i)(A)(2), which instruct
           that a candidate seeldng matching funds must provide docu-
           ments and records to the CFB before the deadline set forth by the
           CFB. The court recognizes that the Adams Campaign did not in-
           itially comply with the CFB's request because the request sought




                                            27
Case 1:25-cv-03380-NGG-LKE          Document 18 Filed 07/11/25               Page 28 of 61 PageID #:
                                           1179




             information related to certain events referenced in the Indict-
            ment. (See Opp. at 32 (arguing that "privilege against self-
            incrimination applies in administrative proceedings").) But the
            Indictment has since been dismissed with prejudice. The Adams
            Campaign had no excuse to wait until less than 12 hours before
            the CFB meeting on April 15, 2025 to respond to the Board's
            proper request. 22 See generally Liu v. N. Y. C. Campaign Fin. Bd.,
            No. 14-CV-1687 (RJS), 2015 WL 1514904, at *9 (S.D.N.Y. Mar.
            31, 2015) (discussing appropriate steps taken by the CFB in its
            investigation). Thus, the court grants Defendant's motion for
            judgment on the pleadings on this independent basis.
                 C.   The CFB's "Reason to Believe" Standard
            Plaintiffs raise multiple challenges, including facial and as-ap-
            plied constitutional challenges, to the CFB's "reason to believe"
            standard in CFB Rule 3-0l(d)(ii)(B). The court acknowledges
            that when "a case may be resolved on other grounds, courts may
            decline to reach a constitutional question to 'avoid deciding con-
            stitutional issues needlessly."' Kreisberg v. HealthBridge Mgmt.,
            LLC, 732 F.3d 131, 138 (2d Cir. 2013) (quoting Christopher v.
            Harbury, 536 U.S. 403, 417 (2002)). However, considering the
            next payment date of July 15, 2025, and the upcoming mayoral


            22 There is nothing in the record suggesting that the Adams Campaign re-

            quested an extension from the CFB to respond to the November 2024
            request for documents. The Adams Campaign is aware such extensions are
            available, as they have obtained at least one extension from the CFB for a
            separate request. (See Second Ryan Deel. 'l 19 n.l.)
           Furthermore, the CFB contends that there is "a significant gap" in the cam-
           paign's eventual response to the November 15, 2024 request because "the
           response did not say that Mayor Adams had reviewed his own records for
           responsive documents." (Mot. at 11; see also Reply at 4.) The court notes
           that the CFB addressed its November 15, 2024 request to the "2021 and
           2025 campaigns of Eric Adams," and not to Mayor Adams personally.
           (Schaffer Letter at ECF pp. 338.) If the Board intends to seek information
           from Mayor Adams himself, it should explicitly state so.




                                               28
Case 1:25-cv-03380-NGG-LKE          Document 18 Filed 07/11/25                Page 29 of 61 PageID #:
                                           1180




            election on November 4, 2025, the court finds it pertinent to ad-
            dress the constitutional issues present here. 23 See Lo Duca v.
            United States, 93 F.3d 1100, 1104 (2d Cir. 1996) (addressing a
            constitutional argument first raised on appeal because "the con-
            stitutional issues ... are sufficiently important that they should
            be assessed on their merits"); see also United States ex. rel. Reed v.
            Anderson, 461 F.2d 739, 740-41 (3d Cir. 1972) (addressing the
            "underlying constitutional questions" because "the substantive is-
            sue is important enough" even though the court could "decid[e]
            th[e] case solely" on another basis) (en bane); United States v.
            Cain, No. 5-CR-360A, 2008 WL 11336217, at *3 (W.D.N.Y. Nov.
            5, 2008) (addressing the defendant's Sixth Amendment claim de-
            spite its untimeliness ''because of the importance of the
            constitutional issue raised in the motion"). As such, the court ad-
            dresses the constitutional challenges below.
                     1.   First Amendment Free Speech Clause
            First, the court concludes that Plaintiffs plausibly allege that CFB
            Rule 3-0l(d)(ii)(B), as applied to the Adams Campaign, violates
            Plaintiffs' constitutional rights to free speech-political expres-
            sion and political association-under the First Amendment to the
            U.S. Constitution and Article I, Section 8 of the New York State
            Constitution. 24
           The First Amendment to the United States Constitution states
           that "Congress shall make no law ... abridging the freedom of

           23 In any event, the constitutional avoidance canon is discretionary. See

           Chickasaw Nation v. United States, 534 U.S. 84, 94 (2001) (explaining that
           "canons are not mandatory rules").
           24 The court limits its analysis to the First Amendment of the U.S. Consti-

           tution, because "free speech claims under Article 1, Section 8 of the New
           York State Constitution are subject to the same analysis as free speech
           claims under the First Amendment." Carter v. Inc. Vill. of Ocean Beach, 693
           F. Supp. 2d 203, 212 (E.D.N.Y. 2010); see al.so Martinez v. Sanders, 307 F.
           App'x 467, 468 n.2 (2d Cir. 2008) (summary order) (same). The parties
           generally agree with this approach. (See Mot. at 34; see Opp. at 14 n.5.)




                                              29
Case 1:25-cv-03380-NGG-LKE       Document 18 Filed 07/11/25             Page 30 of 61 PageID #:
                                        1181




            speech ... or the right of the people peaceably to assemble." U.S.
            CONST. amend I. ''The Supreme Court has held that the Four-
            teenth Amendment incorporates the protections of the First
            Amendment against state governments." Slattery v. Hochul, 61
            F.4th 278, 287 n.l (2d Cir. 2023); see also Gitlow v. New York,
            268 U.S. 652, 666 (1925) ("For present purposes we may and do
            assume that freedom of speech and of the press-which are pro-
            tected by the First Amendment from abridgment by Congress-
            are among the fundamental personal rights and 'liberties' pro-
            tected by the due process clause of the Fourteenth Amendment
            from impairment by the States."). "Because it is also well settled
            that municipal ordinances adopted under state authority consti-
            tute state action[,] ... the First Amendment's protection of free
            speech applies to the municipal ordinance[s]" too. Lusk v. Vill. of
            Cold Spring, 475 F.3d 480, 485 (2d Cir. 2007).
            It is the settled law of this land that any government regulation
           related to "contribution and expenditure limitations operate in
           an area of the most fundamental First Amendment activities."
           Buckley v. Valeo, 424 U.S. 1, 14 (1976). And it is also ''well estab-
           lished that contributors to political parties and campaigns engage
           in protected First Amendment activities." Corren v. Sorrell, 151 F.
           Supp. 3d 479, 493 (D. Vt. 2015); see also Monitor Patriot Co. v.
           Roy, 401 U.S. 265, 272 (1971) ("[T]he constitutional guarantee
            [of the First Amendment] has its fullest and most urgent applica-
           tion precisely to the conduct of campaigns for political office.")
           Thus, "[t]he statutory and regulatory scheme ... implicates the
           First Amendment'' where it "provides an administrative board
           with discretion to determine candidates' eligibility for subsidies
           for speech-that is, public matching funds to political candi-
           dates." Liu, 2015 WL 1514904, at *9 (concluding that the
           political campaign suing the CFB for matching funds "alleged suf-
           ficient facts to establish standing").




                                           30
Case 1:25-cv-03380-NGG-LKE        Document 18 Filed 07/11/25             Page 31 of 61 PageID #:
                                         1182




            Moreover, "[l]aws that burden political speech are 'subject to
            strict scrutiny,' which requires the Government to prove that the
            restriction 'furthers a compelling interest and is narrowly tailored
            to achieve that interest." Citizens United v. Fed. Election Comm'n,
            558 U.S. 310, 340 (2010) (quoting Fed. Election Comm'n v. Wis.
           Right To Life, Inc., 551 U.S. 449, 464 (2007)). But in "contrast
           with a limitation upon expenditures with political expression, a
           limitation upon the amount that any one person or group may
           contribute to a candidate ... entails only a marginal restriction
           upon the contributor's ability to engage in free communication."
           Buckley, 424 U.S. at 20 (emphases added). Thus, "the less strin-
           gent standard of review" applies where the relevant regulation
           "does not prevent someone from making a contribution, but it
           does minimize the value of that contribution." Ognibene v. Parkes,
           671 F.3d 174, 182-83, 193 (2d Cir. 2011) (recognizing that strict
           scrutiny applies to restraint on campaign expenditures, ''while
           limits on [campaign contributions] are more leniently reviewed
           because they pose only indirect constraints on speech"). In other
           words, "contribution limits and bans are permissible as long as
           they are closely drawn to address a sufficiently important state
           interest." Id. at 183; see also Fed. Election Comm'n v. Beaumont,
           539 U.S. 146, 161 (2003) (observing that "restrictions on politi-
           cal contributions have been treated as merely 'marginal' speech
           restrictions subject to relatively complaisant review under the
           First Amendment, because contributions lie closer to the edges
           than to the core of political expression").
           Although not exacting as strict scrutiny, this standard of review
           is nevertheless rigorous. See Upstate Jobs Party v. Kosinski, 106
           F.4th 232, 249 (2d Cir. 2024). The government ''bears the bur-
           den of proving the constitutionality of its actions." Mccutcheon v.
           Fed. Election Comm'n, 572 U.S. 185, 210 (2014) (plurality opin-
           ion); see also United States v. Playboy Ent. Grp., Inc., 529 U.S. 803,
           816 (2000) (same). And while "consistently reject[ing] attempts
           to restrict campaign speech based on other legislative aims[,]"




                                            31
Case 1:25-cv-03380-NGG-LKE        Document 18 Filed 07/11/25            Page 32 of 61 PageID #:
                                         1183




            the Supreme Court "has recognized only one permissible ground
            for restricting political speech: the prevention of quid pro quo cor-
            ruption or its appearance." Fed. Election Comm'n v. Cruz, 596 U.S.
            289, 305-06 (2022). After "demonstrat[ing] that a sufficient an-
            ticorruption interest motivated its" restrictions, the government
            "must then show that those [restrictions] are 'closely drawn' to
            avoid unnecessary burdens on political speech[.]" Upstate Jobs
            Party, 106 F.4th at 249, 256 (holding that the challenged contri-
            bution limits were closely drawn in part because they were
            subject to adjustment for inflation). A closely drawn restriction
            "to avoid unnecessary abridgment'' means "a fit that is not nec-
            essarily perfect, but reasonable; that represents not necessarily
            the single best disposition but one whose scope is in proportion
            to the interest served, that employs not necessarily the least re-
            strictive means but a means narrowly tailored to achieve the
            desired objective." Mccutcheon, 572 U.S. at 218.
            As an initial matter, the court acknowledges that the "reason to
            believe" standard set forth in CFB Rule 3-01 (d) (ii) (B) "does not
            prevent" the voters or supporters "from making a contribution";
            rather it "minimize [s] the value of that contribution" when the
            Board denies matching funds pursuant to that rule. See Ognibene,
            671 F.3d at 193. Put differently, the Board's denial under the rule
            does not prevent the underlying contribution from reaching the
            campaign. It logically follows then that when analyzing Plaintiffs'
            First Amendment challenge here, the court must apply "the less
            stringent standard of review" of whether the rule is "closely
            drawn to address a sufficiently important [municipal] interest"
            in order to survive such challenge. Id.
           Next, applying the above standard to the facts here, this court
           finds that although the CFB meets its burden of identifying a suf-
           ficiently important interest justifying the "reason to believe"
           standard, the standard itself is not closely drawn to address that
           interest. Defendant argues that "the Rule and its application to




                                            32
Case 1:25-cv-03380-NGG-LKE         Document 18 Filed 07/11/25              Page 33 of 61 PageID #:
                                          1184




           Mayor Adams serve a well-established government interest: pre-
           venting actual or perceived corruption." (Mot. at 33.) Although
            the rule itself does not make an explicit reference to curtailing
           corruption as its goal, the court can readily make that inference.
           It is no secret that the CFB aims to make New York City's local
           democracy more transparent and strives to hold its elected lead-
           ers accountable to the public by providing strong incentives to
           candidates to finance their campaigns with the help of average
           New Yorkers instead of seeking donations from special interest
           groups. The Board makes that abundantly clear in its Vision and
           Mission Statements. 25 (First Ryan Deel. 'f 5 ("By increasing the
           value of small-donor contributions, the program reduces the pos-
           sibility and perception of corruption from large contributions and
           unlimited campaign spending[.]").) Therefore, it is reasonable to
           infer that in line with those statements, the Board has promul-
           gated CFB Rule 3-0l(d)(ii)(B) to "prevent[] ... quid pro quo
           corruption or its appearance." Cruz, 596 U.S. at 305-06. Clearly,
           corruption, or even the appearance of it, would be "detrimental
           to the Program." CFB Rule 3-0l(d)(ii)(B). Thus, the CFB has met
           its burden of demonstrating that CFB Rule 3-0l(d)(ii)(B) serves
           the goal of "eliminating corruption or the appearance thereof"
           which "is a sufficiently important governmental interest." Ogni-
           bene, 671 F.3d at 186.
           The CFB further argues that "the Rule is closely drawn because it
           is 'reasonable, commensurate with the interest served, and not
           necessarily the least restrictive means but a means narrowly tai-
           lored to achieve the desired objective."' (Mot. at 33 (quoting
           Upstate Jobs Party, 106 F.4th at 254).) Other than arguing that
           the rule "only targets candidate conduct that is detrimental to the
           Program during Program participation" and claiming that "[i]t


           25 See New York City Campaign Finance Board, About the CFB, available at

           https://www.nyccfb.info/about [https://perma.cc/N6W-7AEB] (last vis-
           ited July 11, 2025).




                                             33
Case 1:25-cv-03380-NGG-LKE       Document 18 Filed 07/11/25          Page 34 of 61 PageID #:
                                        1185




            does not inhibit the candidate from seeking private funds to
            mount a campaign," (id.), Defendant does not explain exactly
            how the rule's application to the Adams Campaign "avoid[s] un-
            necessary abridgment," is "reasonable; [and] ... represents not
            necessarily the single best disposition but one whose scope is in
            proportion to the interest served," or "employs ... a means nar-
            rowly tailored to achieve the desired objective," see McCutcheon,
            572 U.S. at 218. The CFB's conclusory statements do not pass
            constitutional muster.
           When applying CFB Rule 3-01 (d) (ii) (B) to the Adams Campaign,
            the Board did not engage in any independent fact-finding. In-
            stead, on November 15, 2024, about 7 weeks after the
           Indictment was unsealed, the Board requested certain infor-
           mation from the Adams Campaign, having already determined
           that "[b]ased on the indictment, there is reason to believe that
           the Campaign[] committed violations of various federal statutes,
           Campaign Finance Act provisions, and Board Rules[.]" (Schaffer
           Letter at ECF pp. 338-39.) When the Adams Campaign did not
           provide the records requested in the CFB's November 2024 letter,
           on December 18, 2024, the Board issued its first nonpayment de-
           termination to the Adams Campaign. (December Not.) Once
           again, the Board did not engage in any independent fact-finding.
           Instead, the CFB concluded that it "ha[d] reason to believe that
           Eric Adams ... ha[d], in the course of public funds program ...
           participation, engaged in conduct detrimental to the Program ..
           . as described in the September 26, 2025 indictment." (Id. at ECF
           p. 59.) Then, pointing to the Indictment, the CFB concluded that
           the Adams Campaign was "ineligible for a public funds pay-
           ment." (Id.)
           But "an indictment is not evidence of guilt." United States v. Ro-
           mano, 706 F.2d 370, 374 (2d Cir. 1983); see also United States v.
           Awadallah, 457 F. Supp. 2d 246, 255 (S.D.N.Y. 2006) ("An in-
           dictment is merely an accusation. It is proof of nothing. You may




                                          34
Case 1:25-cv-03380-NGG-LKE       Document 18 Filed 07/11/25            Page 35 of 61 PageID #:
                                        1186




            draw no inference against the defendant from the fact that he
            has been indicted."). It is "only a finding of probable cause that a
            crime has been committed, and that the accused is reasonably
            believed to have committed it." Romano, 706 F.2d at 374. And
            "[a] grand jury proceeding'' resulting in an indictment "is not an
            adversary hearing in which the guilt or innocence of the accused
            is adjudicated." United States v. Calandra, 414 U.S. 338, 343
            (1974). "Rather, it is an ex parte investigation to determine
            whether a crime has been committed and whether criminal pro-
            ceedings should be instituted against any person." Id.
            Significantly, even after Judge Ho dismissed it with prejudice, the
            CFB continued to rely on the Indictment in denying matching
            funds to the Adams Campaign. (See Am. Not. at ECF pp. 94-95.)
            In its brief, the Board argues that "[t]here is no indication that
            the DOJ moved for dismissal, or that Judge Ho ordered dismissal
            of the charges for lack of merit." (Mot. at 18.) The Board is cor-
            rect: Judge Ho did not dismiss the Indictment for lack of merit.
            Indeed, in an opinion dismissing the Indictment, he voiced his
           "substantive concerns about the reasons for dismissal offered by
            the Justice Department itself," and noted that the dismissal was
           not "any kind of statement about the merits of the allegations
           against the Mayor in the Indictment." United States v. Adams, ---
           F. Supp. 3d ---, No. 24-CR-556 (DEH), 2025 WL 978572, at *2
            (S.D.N.Y. Apr. 2, 2025). But even then, he emphasized that the
           "decision ... [was] not about whether Mayor Adams is innocent
           or guilty," either, because "Mayor Adams, like any person ac-
           cused of a crime, is presumed innocent until proven guilty." Id.
           The Board's attempt to shift the burden of proving his innocence
           to Mayor Adams is inappropriate and goes against the centuries-
           old American legal principle that presumes the criminal defend-
           ant's innocence until proven guilty. See, e.g., Deck v. Missouri, 544
           U.S. 622, 630 (2007) (''First, the criminal process presumes that
           the defendant is innocent until proved guilty."); Powell v. State of
           Ala., 287 U.S. 45, 52 (1932) ("However guilty defendants, upon




                                           35
Case 1:25-cv-03380-NGG-LKE       Document 18 Filed 07/11/25            Page 36 of 61 PageID #:
                                        1187




            due inquiry, might prove to have been, they were, until con-
            victed, presumed to be innocent."); Prigg v. Commonwealth of
            Pa., 41 U.S. 539, 576 (1842) ("Every man is presumed to be in-
            nocent, until proved guilty.").
            The court appreciates the unique circumstances of Mayor Ad-
            ams's indictment, followed by the dismissal of the same with
            prejudice. But the Board's reliance on the now-dismissed Indict-
            ment to exercise its discretionary authority under CFB Rule 3-
            01 (d) (ii) (B) to deny the matching funds is not narrowly tailored
            to achieve the objective of curtailing corruption. It is not even
            clear to this court that the Board would not have relied on the
            Indictment or trial testimony, had Mayor Adams's criminal case
           proceeded to trial and resulted in full acquittal. Would the CFB
           still have relied on the Indictment to deny the matching funds?
           What if Mayor Adams was not indicted at all, but was accused of
           misconduct based on the same facts in a newspaper article or in
           a series of social media posts? Would the Board have denied
           around $3.5 million in matching funds based on those allega-
           tions? The court is unable to find answers to these questions in
           the CFB's briefs or pleadings. And the CFB's consistent reliance
           on the Indictment from November 2024 (only a few weeks after
           the Indictment was unsealed) to May 2025 (after Judge Ho dis-
           missed the Indictment with prejudice) does not foreclose those
           possibilities. That is precisely the problem with the "reason to be-
           lieve" standard as applied to the Adams Campaign.
           To be clear, the Board need not have applied the rule in the least
           restrictive way possible to survive Plaintiffs' as-applied First
           Amendment challenge. It simply needed to rely on the rule as "a
           means narrowly tailored to achieve the desired objective" of pre-
           venting corruption or its appearance. Upstate Jobs Party, 106
           F.4th at 254. But Plaintiffs correctly point out that the rule com-
           pletely excludes "the Campaign from participating altogether in
           the City's matching fund[s] program," and does not simply limit




                                          36
Case 1:25-cv-03380-NGG-LKE       Document 18 Filed 07/11/25           Page 37 of 61 PageID #:
                                        1188




            "the size, nature, or number of contributions that a candidate ..
            . may accept from private donors." (Opp. at 15.) For instance, in
            its nonpayment determinations, the CFB did not consider the
            "multiple alternatives available" other than complete denial of
            matching funds, including, for example, denial of matching funds
            with respect to certain contributions or fundraisers mentioned in
            the Indictment. See Mccutcheon, 572 U.S. at 221 (clarifying that
            courts "do not mean to opine on the validity of any particular
            proposal"). Instead, the Board employed a "one size fits all ap-
            proach," and denied all the matching funds under CFB Rule 3-
            01 (d) (ii) (B) because it had "reason to believe that Eric Adams
            ha[d], in the course of public funds program participation, en-
            gaged in conduct detrimental to the Program that is in violation
            of federal, state, and/or City law[.]" (April Not. at ECF p. 78.)
            Thus, by relying on CFB Rule 3-0l(d)(ii)(B) to deny the match-
            ing funds, the CFB failed to "avoid unnecessary abridgment" of
            Plaintiffs' First Amendment rights. Buckley, 424 U.S. at 25.
           The court also notes that Defendant's reliance on Liu is mis-
           guided. There, the court rejected the plaintiffs' as-applied First
           Amendment challenge to then-CFB Rule 5-01 (f) which-similar
           to the rule at issue here-provided the Board with authority to
           deny matching funds based on the "reason to believe" standard.
           Liu, 2015 WL 1514904, at *9. But Judge Richard J. Sullivan in
           Liu examined the following facts that justified the outcome:
           "given the prosecution and conviction of [the campaign treasurer
           and candidate's fundraiser], the evidence introduced at their
           trial, and the separate investigation conducted by the Board and
           its investigator, Thacher Associates, there was ample basis for the
           Board to believe that Plaintiffs had violated the [CFA] and Board
           rules." Id. Here, the CFB did not retain a private investigation
           firm to investigate the Adams Campaign or interview the contrib-
           utors to the campaign as it did in Liu. Nor could it rely on trial




                                          37
Case 1:25-cv-03380-NGG-LKE           Document 18 Filed 07/11/25                  Page 38 of 61 PageID #:
                                            1189




            evidence, like it did in Liu, because Judge Ho dismissed the In-
            dictment against Mayor Adams with prejudice before the case
            went to trial.
           Furthermore, neither the criminal complaint filed against Mo-
           hamed Bahi nor Erden Arkan's Plea of Guilty convinces this court
           otherwise. With respect to the former, Mr. Bahi is entitled to the
           same presumption of innocence as is Mayor Adams. 26 As to Mr.
           Arkan, in relevant part, CFB Rule 1-02 defines the term ((Candi-
           date" as ((every authorized committee of the candidate, the
           treasurer of each such committee, and any other agent of the
           candidate." But Mr. Arkan was never a member of the Adams
           Campaign, Mayor Adams's administration, or otherwise an agent
           of Mayor Adams. See United States v. Arkan, No. 25-CR-13
            (S.D.N.Y. 2025) (Information (Dkt. 1) 'I 2 (alleging that Mr. Ar-
           kan ((direct[ed] certain of his employees to make contributions to
           the 2021 Campaign for New York City Mayor").) Ultimately, the
           relevant rule authorizes the Board to deny matching funds if it
           has ((reason to believe that ... the candidate has engaged in con-
           duct detrimental to the Program that is in violation of any other
           applicable law." CFB Rule 3-0l(d)(ii)(B) (emphases added). Be-
           cause Mr. Arkan is not a ((candidate" under CFB Rule 1-02, the
           Board cannot rely upon Mr. Arkan's Plea of Guilty to support a
           finding that it had ((reason to believe" that Mayor Adams ((en-
           gaged in conduct detrimental to the Program that is in violation
           of any other applicable law." (Id. (emphasis added).) Regardless,


           26 On February 7, 2025, the Government informed Judge Ho and Judge

           Analisa Torres of the Southern District of New York that it "inten[ded] to
           file an information charging Mohamed Bahi in a single count with conspir-
           acy to violate the laws of the United States, in violation of 18 U.S.C. § 371."
           (Government Letter Dated 2/7/2025 (Dkt. 11-2 at ECF p. 398) at ECF p.
           399.) Although the letter stated that "Bahi ha[d] indicated that he in-
           tend[ed] to plead guilty to the sole count of the Information against him,"
           as of the date of the publishing of this decision, there is no pending infor-
           mation against Mr. Bahi in his criminal case. (Id.)




                                                38
Case 1:25-cv-03380-NGG-LKE        Document 18 Filed 07/11/25             Page 39 of 61 PageID #:
                                         1190




            the CFB never explained, save for its generic references to Mr.
            Bahi's and Mr. Arkan's criminal cases, precisely how the charges
            against Mr. Bahi or Mr. Arkan's Plea of Guilty gave the Board a
            "reason to believe" that Mayor Adams engaged in conduct detri-
            mental to the Program.
             Lastly, it is exactly because of Judge Sullivan's well-reasoned
             opinion in Liu that this court also concludes that Plaintiffs' facial
             challenge fails. Considering that the language of the rule in Liu
            was almost the same as CFB Rule 3-0l(d)(ii)(B), the court finds
            that the latter is not "unconstitutional in all of its applications."
            Upstate Jobs Party, 106 F.4th at 245 (explaining that "a facial
            challenge" can only succeed if the plaintiff can "establish[] that
            no set of circumstances exists under which" the law "would be
            valid"). For instance, had the CFB denied matching funds to the
            Adams Campaign after Mayor Adams or his campaign treasurer,
            Sharon Adams, was convicted of or entered a Plea of Guilty to
            any relevant criminal charges, neither of which is the case here,
            the Board's reliance on Rule 3-0l(d)(ii)(B) would have been ap-
            propriate. See CFB Rule 1-02. Similarly, had the CFB engaged in
            independent fact-finding and investigation after such convic-
            tions, as it did in Liu, Plaintiffs' as-applied challenge would have
            likely failed. See 2015 WL 1514904, at *9. Because under those
            circumstances the rule's application would have been reasonable,
            the court finds that CFB Rule 3-01 (d) (ii) (B) is not facially uncon-
            stitutional.
           To conclude, Plaintiffs plausibly allege that CFB Rule 3-
           01( d) (ii) (B) as applied to the Adams Campaign is unconstitu-
           tional under the First Amendment to the U.S. Constitution and
           Article I, Section 8 of the New York State Constitution because it
           is not "closely drawn to address a sufficiently important state in-
           terest" of preventing corruption or its appearance. Ognibene, 671
           F.3d at 193; see also Buckley, 424 U.S. at 16 (noting that the "First




                                            39
Case 1:25-cv-03380-NGG-LKE           Document 18 Filed 07/11/25                 Page 40 of 61 PageID #:
                                            1191




            Amendment protects political association as well as political ex-
            pression"); Liu, 2015 WL 1514904, at *9 (finding that the
            determination of a candidate's eligibility for public matching
            funds implicates that candidate's First Amendment rights). 27
            Nevertheless, because the CFB provided two independent valid
            reasons for its decision to deny matching funds, it is entitled to
            judgment on the pleadings.
                      2.   Fourteenth Amendment Due Process Clause
            Second, Plaintiffs also plausibly allege that CFB Rule 3-
            01(d) (ii) (B), as applied to the Adams Campaign, violates Plain-
            tiffs' constitutional rights to due process of law under the
            Fourteenth Amendment to the U.S. Constitution and Article I,
            Section 6 of the New York State Constitution. 28 In relevant part,

            27 Although this court finds in favor of Plaintiffs on their as-applied First

           Amendment challenge, it notes that Plaintiffs' position with respect to the
           Second Circuit decision in MacDonald v. Safir is incorrect. (Opp. at 16.)
           Plaintiffs argue that "MacDonald controls this case." (Id.) It does not. The
           Second Circuit in MacDonald held that the "reason to believe standard" of
           Admin. Code§ 10-ll0(a)(l) directingNewYorkCityPolice Commissioner
           to deny parade permits "[was] not sufficiently precise on its face to pass
           constitutional muster" under the First Amendment. See MacDonald v. Safir,
           206 F.3d 183, 193 (2d Cir. 2000). MacDonald is inapposite because it did
           not deal with any kind of political campaign contribution issues. Thus, the
           cases identified above concerning campaign contribution limitations are
           directly on point, while MacDonald's reasoning is not instructive here.
           28
               Similar to its analysis of the First Amendment challenge, the court only
           discusses the Due Process Clause of the Fourteenth Amendment to the U.S.
           Constitution, because ''with some exceptions," not relevant here, "New
           York courts have interpreted the due-process guarantees of the New York
           Constitution and the United States Constitution to be coextensive[.]"
           Oneida Indian Nation of N.Y. v. Madison Cnty., 665 F.3d 408,427 n.13 (2d
           Cir. 2011) ('We need not decide ... whether Article I, section 6 of the New
           York Constitution provides any greater relief than does the Fourteenth
           Amendment to the United States Constitution, inasmuch as the [plaintiff]
           has not asserted that it is entitled to any greater due-process protection
           under" the former than the latter.") The parties do not contest this ap-
           proach. (See Mot. at 30.)




                                                40
Case 1:25-cv-03380-NGG-LKE       Document 18 Filed 07/11/25             Page 41 of 61 PageID #:
                                        1192




            the Fourteenth Amendment to the U.S. Constitution provides
            that "[n]o State shall ... deprive any person of life, liberty, or
            property, without due process of law." U.S. CONST. amend. XN,
            § 1. The Due Process Clause of the Fourteenth Amendment pro-
            tects a right to substantive and procedural due process. See Cnty.
            of Sacramento v. Lewis, 523 U.S. 833, 845-46 (1998) (distin-
            guishing between the procedural due process violation-"a
            denial of fundamental procedural faimess"-and a substantive
            due process violation-"the exercise of power without any rea-
            sonable justification in the service of a legitimate governmental
            objective").
            Plaintiffs appear to raise a procedural due process claim only.
            (See Am. Pet. 'f 162 ("It is a basic principle of due process that an
           enactment is void for vagueness if its prohibitions are not clearly
            defined." (quoting Grayned v. City of Rockford, 408 U.S. 104, 108
            (1972))); see also Opp. at 20 (explaining the "void-for-vague-
           ness" doctrine).) The CFB, contradicting itself, interprets
           Plaintiffs' Equal Protection Clause claim as a substantive Due Pro-
           cess Claim as well. (Compare Mot. at 24 (identifying Plaintiffs'
           Equal Protection Clause claims as "a 'constitutional right to par-
           ticipate in the mayoral election on the same terms as other
           candidates' and ... depriv[ation] ... of their interests in 'the
           continued availability of the opportunity to participate in the
           Democratic Party's mayoral primary' and 'to participate in the
           general election"' (quoting Am. Pet. 'f'f 138, 142)), with id. at 25
           (identifying the same claims as "what appear[] to be ... substan-
           tive due process claims").) For the avoidance of the doubt, the
           court addresses both substantive and procedural Due Process
           Clause claims, in that order.
                    a.   Substantive Due Process Claims - Free Speech &
                         Property
           Plaintiffs cannot bring a successful substantive due process chal-
           lenge; while their due process claim based on their free speech




                                           41
Case 1:25-cv-03380-NGG-LKE       Document 18 Filed 07/11/25            Page 42 of 61 PageID #:
                                        1193




            interest is duplicative of their First Amendment challenge dis-
            cussed above, their due process claim arising out of their property
            interest in matching funds does not identify a property interest
            protected by the Fourteenth Amendment's Due Process clause.
            "To establish a substantive due process violation, a plaintiff must
            show both (1) that she has an interest protected by the Four-
            teenth Amendment, and (2) that the ... ordinance, or regulation
            in question is not rationally related to a legitimate government
            interest." Winston v. City of Syracuse, 887 F.3d 553, 566 (2d Cir.
            2018). As relevant here, property interests "are not created by
            the Constitution. Rather they are created and their dimensions
            are defined by existing rules or understanding that stem from an
            independent source such as state law-rules or understandings
            that secure certain benefits and that support claims of entitle-
            ment to those benefits." Bd. of Regents of State Calls. v. Roth, 408
            U.S. 564, 577 (1972). "A mere 'unilateral expectation' of receiv-
            ing a [government] benefit is not, however, enough; a property
            interest arises only when one has a 'legitimate claim of entitle-
            ment' to the benefit." Kapps v. Wing, 404 F.3d 105, 113 (2d Cir.
            2005) (quoting Roth, 408 U.S. at 577).
           The Supreme Court has previously "afforded constitutional pro-
           tection" to certain benefits "as a species of property protected by
           the federal Due Process Clause." Id. (citing Goldberg v. Kelly, 397
           U.S. 254, 262 & n.8 (1970) (describing ''welfare entitlements as
           more like 'property' than a 'gratuity'")). As a general rule, "[i]n
           determining whether a given benefits regime creates a property
           interest protected by the Due Process Clause," the Second Circuit
           "look[s] to the statutes and regulations governing the distribu-
           tion of benefits." Id. Thus, "[w]here the administrative scheme
           does not require a certain outcome, but merely authorizes partic-
           ular actions ... , the scheme does not create 'entitlements' that
           receive constitutional protection under the Fourteenth Amend-
           ment." Sealed v. Sealed, 332 F.3d 51, 56 (2d Cir. 2003); see also
           Kelly Kare) Ltd. v. O'Rourke, 930 F.2d 170, 175 (2d Cir. 1991) ("If




                                           42
Case 1:25-cv-03380-NGG-LKE        Document 18 Filed 07/11/25            Page 43 of 61 PageID #:
                                         1194




            the statute, regulation, or contract in issue vests in the state sig-
            nificant discretion over the continued conferral of that benefit, it
            will be the rare case that the recipient will be able to establish an
            entitlement to that benefit."); Plaza Health Labs., Inc. v. Perales,
            878 F.2d 577,582 (2d Cir. 1989) (expressing a "serious doubt as
            to the existence of a [property] right'' where pursuant to New
            York's Medicaid laws, "in certain circumstances," the New York
            State Department of Social Services could terminate a healthcare
            provider's participation in the program).
           Like certain government benefits, "[f]reedom of speech and of
           the press are fundamental rights which are safeguarded by the
           due process clause of the Fourteenth Amendment of the Federal
           Constitution." De Jonge v. State of Or., 299 U.S. 353, 364 (1937).
           Relatedly, however, ''where another provision of the Constitution
           provides an explicit textual source of constitutional protection, a
           court must assess a plaintiffs claims under that explicit provision
           and not the more generalized notion of substantive due process."
           Conn v. Gabbert, 526 U.S. 286,293 (1999) (holding that "[c]hal-
           lenges to the reasonableness of a search by government agents
           clearly fall under the Fourth Amendment, and not the Four-
           teenth," because "[i]n essence[,]" the respondent "argues that
           the prosecutors searched him in an unreasonable manner"); see
           also Hu v. City of New York, 927 F.3d 81, 103 (2d Cir. 2019) (col-
           lecting cases and explaining that "the plaintiffs' substantive Due
           Process claim is subsumed by their Equal Protection claim" be-
           cause "the Supreme Court [has] narrowed the scope of
           substantive Due Process to claims that are not covered by other
           provisions of the Constitution"). Accordingly, where a due pro-
           cess claim is duplicative of a more specific claim under the federal
           constitution, it "is either subsumed in [the] more particularized
           allegations, or must fail." Velez v. Lery, 401 F.3d 75, 94 (2d Cir.
           2005).




                                            43
Case 1:25-cv-03380-NGG-LKE        Document 18 Filed 07/11/25              Page 44 of 61 PageID #:
                                         1195




            As to establishing the second element of a due process violation
            here, the local government "is not required to come forth with
            empirical evidence tending to show that the facts underlying the
            restrictions are true." Lange-Kessler v. Dep't of Educ. of the State of
            N.Y., 109 F.3d 137, 140 (2d Cir. 1997). "It is enough that there
            is an evil at hand for correction, and that it might be thought that
            the particular legislative measure was a rational way to correct
            it." Williamson v. Lee Optical of Okla. Inc., 348 U.S. 483, 488
            (1955). In other words, "the law need not be in every respect
            logically consistent with its aims to be constitutional." Id. at 487-
            88.
            Here, Plaintiffs identify two kinds of interests allegedly protected
            by the FourteenthAmendment's Due Process Clause. Specifically,
            they argue that the Board's application of CFB Rule 3-
            01(d) (ii) (B) deprived them of their liberty interest, to exercise
            their right to free speech, and property interest, in receiving
            matching funds, without due process. (Opp. at 20 n.12.) The
            court addresses each argument in tum.
           First, Plaintiffs have a liberty interest in their free speech, as cam-
           paign contributions, that is protected by the Fourteenth
           Amendment's Due Process Clause. See Mccutcheon, 572 U.S. at
           191 ("If the First Amendment protects flag burning, funeral pro-
           tests, and Nazi parades-despite the profound offense such
           spectacles cause-it surely protects political campaign speech de-
           spite popular opposition."); see also De Jonge, 299 U.S. at 364.
           But the First Amendment already "provides an explicit textual
           source of constitutional protection" for Plaintiffs' liberty interest.
           Gabbert, 526 U.S. at 293. Accordingly, this court will not assess
           Plaintiffs' substantive Due Process Clause claim arising out of
           their liberty interest in their free speech under the "generalized
           notion of substantive due process." Id. That claim is duplicative
           of and subsumed by their First Amendment challenge this court
           already addressed above. See Velez, 401 F.3d at 94 (explaining




                                            44
Case 1:25-cv-03380-NGG-LKE       Document 18 Filed 07/11/25            Page 45 of 61 PageID #:
                                        1196




            that a due process claim duplicative of a specific federal consti-
            tutional claim "must fail").
            Second, the CFB's matching funds program provides government
            benefits to qualified political campaigns. See Liu, 2015 WL
            1514904, at *10 (describing the CFB's discretion to provide "pub-
            lic matching funds to political candidates" as a process of
            "determin[ing] candidates' eligibility for subsidies for speech").
            But Plaintiffs' expectation of receiving such benefits does not au-
            tomatically create a property interest in it. See Kapps, 404 F.3d at
            113. Because the CFB Rules provide "an independent source ...
            that secure [these] benefits and that support claims of entitle-
            ment to those benefits," see Roth, 408 U.S. at 577, the court must
            look to CFB Rule 3-01 (d) (ii) (B) to "determin[e] whether ... [the
            matching funds] regime creates a property interest protected by
            the Due Process Clause," Kapps, 404 F.3d at 113.
           The Board has promulgated the rule as a rule of "Discretionary
           ineligibility." CFB Rule 3-0l(d)(ii)(B). And the rule provides al-
           most unbridled discretion to the Board to deny "public funds
           payment" to a candidate that it has "reason to believe . . . en-
           gaged in conduct detrimental to the Program that is in violation
           of any other applicable law." Id. This rule "does not require acer-
           tain outcome"; instead, it "merely authorizes particular
           actions[,]" leaving it outside the "constitutional protection [of]
           the Fourteenth Amendment." Sealed, 332 F.3d at 56. The court
           finds the Second Circuit's reasoning in Plaza Health particularly
           instructive. There, the Second Circuit closely analyzed ''whether
           the provider of services" in the Medicaid context "had a property
           right ... to continue to participate in the program." Plaza Health,
           878 F.2d at 581-82. In suggesting that the provider likely does
           not have such a right, the court underlined a provision allowing
           the New York State Department of Social Services to terminate
           the provider's participation "if the department f[ound] that the




                                           45
Case 1:25-cv-03380-NGG-LKE        Document 18 Filed 07/11/25            Page 46 of 61 PageID #:
                                         1197




            provider has engaged in an unacceptable practice" under the rel-
            evant regulatory scheme. Id. at 582. Such language giving
            discretion to the regulatory authority mirrors CFB Rule 3-
            01 (d) (ii) (B)'s "reason to believe" standard.
            Therefore, because CFB Rule 3-0l(d) (ii) (B) ''vests in the [Board]
            significant discretion over the continued conferral of [the match-
            ing funds] benefit," O'Rourke, 930 F.2d at 175, Plaintiffs do not
            "have a legitimate claim of entitlement" to those funds to estab-
            lish a property right protected by the Fourteenth Amendment's
            Due Process Clause, Roth, 408 U.S. at 577. Plaintiffs' failure to
            allege that they have property interest in public matching funds
            is fatal to their claim.
            In sum, the court concludes that while Plaintiffs' first substantive
            due process claim is duplicative of their First Amendment chal-
            lenge, their second substantive due process claim is meritless
            because Plaintiffs do not have a property interest in public match-
            ing funds that are protected by the Fourteenth Amendment's Due
            Process clause.
                    b.   Procedural Due Process - Void for Vagueness
           The court finds that Plaintiffs adequately allege that the CFB vi-
           olated Plaintiffs' procedural due process rights under the
           Fourteenth Amendment because CFB Rule 3-01 (d) (ii) (B), asap-
           plied to the Adams Campaign, is void for vagueness. "Procedural
           due process imposes constraints on governmental decisions
           which deprive individuals of 'liberty' or 'property' interests within
           the meaning of the Due Process Clause of the ... Fourteenth
           Amendment." Mathews v. Eldridge, 424 U.S. 319, 332 (1976).
           Thus, claims based on lack of procedural due process are "com-
           posed of two elements: (1) the existence of a property or liberty
           interest that was deprived and (2) deprivation of that interest
           without due process." Bryant v. N. Y. State Educ. Dep't, 692 F.3d
           202, 218 (2d Cir. 2012).




                                            46
Case 1:25-cv-03380-NGG-LKE        Document 18 Filed 07/11/25            Page 47 of 61 PageID #:
                                         1198




            "It is a basic principle of due process that an enactment is void
            for vagueness if its prohibitions are not clearly defined." Grayned,
            408 U.S. at 108; see also Farrell v. Burke, 449 F.3d 470, 485 (2d
            Cir. 2006) (''The vagueness doctrine is a component of the right
            to due process."). To that end, laws must (1) "give the person of
            ordinary intelligence a reasonable opportunity to know what is
            prohibited, so that he may act accordingly," and (2) "provide ex-
            plicit standards for those who apply them." Grayned, 408 U.S. at
            108; see also Hill v. Colorado, 530 U.S. 703, 732 (2000) (defining
            the same as "two independent reasons" that "[a] statute can be
            impermissibly vague"). The second prong of the test "involves an
            inquiry into whether: (1) ... the ordinance as a general matter
            provides sufficiently clear standards to eliminate the risk of arbi-
            trary enforcement; or (2) even in the absence of such standards,
            the conduct at issue falls within the core of the ordinance's pro-
            hibition[.]" Cunney v. Bd. of Trs. of Vill. of Grand View, N. Y., 660
            F.3d 612, 621-22 (2d Cir. 2011).
           Because the ''void for vagueness" doctrine "is chiefly applied to
           criminal legislation," civil enactments "receive less exacting
           vagueness scrutiny." Arriaga v. Mukasey, 521 F.3d 219, 222-23
            (2d Cir. 2008); see also Vill. of Hoffman Ests. v. Flipside, Hoffman
           Ests., Inc., 455 U.S. 489, 498-99 (1982) (''The Court has also ex-
           pressed greater tolerance of enactments with civil rather than
           criminal penalties because the consequences of imprecision are
           qualitatively less severe."). However, "as Grayned suggests,
           vagueness in the law is particularly troubling when First Amend-
           ment rights are involved." Farrell, 449 F.3d at 485; see also Smith
           v. Goguen, 415 U.S. 566, 573 (1974) ("Where a statute's literal
           scope, unaided by a narrowing state court interpretation, is ca-
           pable of reaching expression sheltered by the First Amendment,
           the doctrine demands a greater degree of specificity than in other
           contexts."). And the Supreme Court "has recognized that a scien-
           ter requirement may mitigate a law's vagueness, especially with




                                            47
Case 1:25-cv-03380-NGG-LKE        Document 18 Filed 07/11/25             Page 48 of 61 PageID #:
                                         1199




            respect to the adequacy of notice to the complainant that his con-
            duct is proscribed." Vill. of Hoffman Ests., 455 U.S. at 499; Hill,
            530 U.S. at 732 (holding that "the first concern is ameliorated,"
            because the statute "contains a scienter requirement," as it "only
            applies to a person who," among other things, '''knowingly' ap-
            proaches within eight feet of another").
            Plaintiffs raise both as-applied and facial vagueness challenges
            against CFB Rule 3-0l(d)(ii)(B). (Am. Pet. 'f'f 165-66.) They al-
            lege that the rule is void for vagueness because it "fails to identify
           with any clarity the conduct that resulted in the CFB's decision to
            deny campaign matching funds to the Adams Campaign," and "is
           not clearly defined; it is not defined at all." (Id. 'f'f 163-64; see
           also Opp. at 20 (arguing that "the 'reason to believe' standard
           contained in Rule 3-01 (d) (ii) (B) at the very least 'encourages ar-
           bitrary and discriminatory enforcement' of the regulation"
            (quoting Hill, 530 U.S. at 732)).) The CFB counters that "Mayor
           Adams was reasonably on notice that an Indictment charging al-
           leged straw donations and bribery would provide reason to
           believe that he had engaged in conduct considered contrary to
           the goals of the Program, and indeed, detrimental" to it. (Mot. at
           29.) Likewise, the Board contends that "the Rule has a defined
           standard preventing arbitrary application," and "[e]ven if the
           Rule does not provide a clear standard, Mayor Adams's actions
           as alleged in the Indictment fall directly within the core of the
           Rule's prohibition on conduct detrimental to the program[.]"
           (Id.) As to the facial challenge, while Plaintiffs do not appear to
           advance any arguments in the opposition brief, the CFB mainly
           relies on its arguments regarding the as-applied challenge and
           Judge Sullivan's reasoning in Liu. (Mot. at 29-30.)
           The court addresses the as-applied challenge first, because "a
           finding of facial constitutionality does not foreclose 'as-applied'
           challenges." Field Day, LLC v. Cnty. of Suffolk, 463 F.3d 167, 184
           (2d Cir. 2006). Here, Plaintiffs have a liberty interest in their




                                            48
Case 1:25-cv-03380-NGG-LKE        Document 18 Filed 07/11/25            Page 49 of 61 PageID #:
                                         1200




            right to free speech, namely, political expression and political as-
            sociation, under the First Amendment to the U.S. Constitution.
            See Buckley, 424 U.S. at 15 (holding that the "First Amendment
            protects political association as well as political expression").
            Thus, Plaintiffs have satisfied the first element of their procedural
            due process claim. See Bryant, 692 F.3d at 218.
             Next, as to the due process element, the court first discusses the
             notice prong of the void-for-vagueness doctrine. The court notes
             that the CFB's most recent denial of public matching funds to the
            Adams Campaign on April 15, 2025, (see April Not.), post-dates
            Judge Ho's dismissal of the Indictment with prejudice on April 2,
            2025, see generally Adams, --- F. Supp. 3d ---, 2025 WL 978572.
            Without determining whether the rule adequately put the Adams
            Campaign on notice that a pending indictment would result in
            adverse action, the court does not see how the Adams Campaign
            should have reasonably been on notice of this outcome after the
            criminal charges against Mayor Adams were dismissed. It is not
            clear how the Adams Campaign could have "act[ed] accordingly''
            given that after the Indictment was dismissed, no "person of or-
            dinary intelligence [would have] a reasonable opportunity to
            know what is prohibited." Grayned, 408 U.S. at 108. To the con-
            trary, because "Mayor Adams, like any person accused of a crime,
            is presumed innocent until proven guilty," see Adams, --- F. Supp.
            3d ---, 2025 WL 978572, at *2, he had no adequate notice that
            the dismissed indictment would give the Board a "reason to be-
            lieve" that Mayor Adams engaged in conduct detrimental to the
            Program, see also Deck, 544 U.S. at 630 (acknowledging the pre-
            sumption of innocence of the criminal defendant); Powell, 287
            U.S. at 52 (same); Prigg, 41 U.S. at 576 (same). Indeed, the CFB
            Rules do not provide any guidance as to what constitutes "con-
            duct detrimental to the Program that is in violation of any other
            applicable law." CFB Rule 3-0l(d) (ii) (B). Consequently, to the
            extent the Board relied on the Indictment-after its dismissal




                                            49
Case 1:25-cv-03380-NGG-LKE        Document 18 Filed 07/11/25             Page 50 of 61 PageID #:
                                         1201




            with prejudice-to deny matching funds to the Adams Cam-
            paign, the court finds that Plaintiffs adequately allege that CFB
            Rule 3-01 (d) (ii) (B) deprived them of their liberty interest in free
            speech without due process of law.
            The court also emphasizes that because "First Amendment rights
            are involved" in this case, see supra Part N.C.l, the ''vagueness in
            [Rule 3-0l(d) (ii) (B)] is particularly troubling." Farrell, 449 F.3d
            at 485. Although the rule "is capable of reaching expression shel-
            tered by the First Amendment," it does not offer "a greater degree
            of specificity than in other contexts" to survive the void-for-
            vagueness challenge as applied to the Adams Campaign. Smith,
            415 U.S. at 573. And the fact that the rule has no "scienter re-
            quirement [that] may mitigate [its] vagueness, especially with
            respect to the adequacy of notice to [Mayor Adams] that his con-
            duct is proscribed," further cuts in favor of this court's conclusion.
            Vill. of Hoffman Ests., 455 U.S. at 499.
            While Plaintiffs adequately allege an as-applied challenge on the
            first independent and sufficient prong of the ''void-for-vague-
            ness" doctrine, the court finds that the rule, as applied to the
            Adams Campaign, survives the challenge with respect to the sec-
            ond, enforcement standards, prong of the test. This court need
            not determine, however, whether the rule "provide[d] suffi-
            ciently clear standards to eliminate the risk of arbitrary
            enforcement," because preventing corruption, which is the tar-
            geted conduct at issue here, "falls within the core" of the rule's
            prohibition. See Cunney, 660 F.3d at 621-22. As the court ex-
            plained above in discussing the First Amendment challenge, see
            supra Part N.C.l, given the CFB's Vision and Mission Statements,
            it is reasonable to infer that the Board promulgated CFB Rule 3-
            01( d) (ii) (B) to "prevent[] ... quid pro quo corruption or its ap-
            pearance." Cruz, 596 U.S. at 305-06. And such conduct, or its
            appearance, would be "detrimental to the Program." CFB Rule 3-
            0l(d) (ii) (B). Ultimately, however, because the court already




                                             50
Case 1:25-cv-03380-NGG-LKE        Document 18 Filed 07/11/25             Page 51 of 61 PageID #:
                                         1202




            concluded that Plaintiffs plausibly alleged that CFB Rule 3-
            01 (d) (ii) (B) deprived them of their liberty interest in free speech
            without due process of law, they also plausibly allege that the
            rule is unconstitutional as applied to the Adams Campaign.
           Nevertheless, Plaintiffs' facial due process clause claim fails. For
           similar reasons that this court concluded that a facial First
           Amendment challenge to CFB Rule 3-0l(d)(ii)(B) fails, it finds
           that the rule is not void for vagueness "in all of its applications."
           Upstate Jobs Party, 106 F.4th at 245. Again, the Liu court's inter-
           pretation of the "reason to believe" standard in an almost
           identical CFB rule is persuasive. See 2015 WL 1514904, at '~13
           (rejecting the plaintiffs' overbreadth challenge under the First
           Amendment because the "reason to believe" standard "is suffi-
           ciently definite to guide the CFB's action"). The court
           acknowledges that the Liu court did not analyze the vagueness
           of the rule as part of a Fourteenth Amendment procedural due
           process claim. Even then, the facts in Liu convince this court that
           the language of CFB Rule 3-0l(d) (ii) (B) "give[s] the person of
           ordinary intelligence a reasonable opportunity to know" that the
           campaign treasurer's and fundraiser's convictions arising out of
           campaign-related criminal acts would lead to nonpayment deci-
           sions as to public matching funds. See Grayned, 408 U.S. at 108.
           As such, the rule is not void for vagueness in all circumstances.
           In conclusion, despite the court's findings as to the procedural
           due process claim, undisputed material facts show that the Board
           had independently sufficient reasons to deny the Adams Cam-
           paign the matching funds. For those reasons, the CFB is entitled
           to judgment on the pleadings.
                    3.   Fourteenth Amendment Equal Protection Clause
           The CFB is entitled to judgment on the pleadings with respect to
           Plaintiffs' equal protection claim under the Fourteenth Amend-
           ment to the U.S. Constitution. The Fourteenth Amendment to the
           U.S. Constitution provides, in pertinent part, that "[n]o State




                                            51
Case 1:25-cv-03380-NGG-LKE        Document 18 Filed 07/11/25            Page 52 of 61 PageID #:
                                         1203




            shall ... deny to any person within its jurisdiction the equal pro-
            tection of the laws." U.S. CONST. amend. XN, § l. And as relevant
            here, in order to allege a successful "class-of-one" claim under
            the equal protection clause, Plaintiffs must show "that [they]
            ha[ve] been intentionally treated differently from others simi-
            larly situated and that there is no rational basis for the difference
            in treatment." Vill. of Willowbrook v. Olech, 528 U.S. 562, 564
            (2000) (per curiam).
            To adequately plead a class-of-one claim, "plaintiffs must show
            an extremely high degree of similarity between themselves and
            the persons to whom they compare themselves." Clubside, Inc. v.
            Valentin, 468 F.3d 144, 159 (2d Cir. 2006) (Sotomayor, J.); see
            also Hu, 927 F.3d at 92 (same). Thus, to succeed on a class-of-
            one claim,
                 a plaintiff must establish that he and a comparator are prima
                facie identical by showing that (i) no rational person could
                regard the circumstances of the plaintiff to differ from those
                of a comparator to a degree that would justify the differential
                treatment on the basis of a legitimate government policy;
                and (ii) the similarity in circumstances and difference in
                treatment are sufficient to exclude the possibility that the de-
                fendant acted on the basis of a mistake.

            Hu, 927 F.3d at 92. Plaintiff also "bear[s] the burden of suffi-
            ciently alleging similarly situated comparators" in their
            pleadings. See NRP Holdings LLC v. City of Buffalo, 916 F.3d 177,
            204 (2d Cir. 2019).
           Plaintiffs claim that the denial of matching funds "violates the
           right of Mayor Adams, the Adams Campaign, and the Mayor's
           supporters to participate on an equal basis with all other candi-
           dates in the mayoral campaign." (Am. Pet. ff 64; see also id. ffff
           137-43.) However, in their opposition, Plaintiffs present their
           equal protection claim as a "class-of-one claim" predicated on the
           notion that Mayor Adams and Andrew Cuomo are "identically




                                            52
Case 1:25-cv-03380-NGG-LKE       Document 18 Filed 07/11/25            Page 53 of 61 PageID #:
                                        1204




            situated" and that the Cuomo Campaign received a "fact-based
            penalty'' while the Board denied the Adams Campaign public
            matching funds based on unproven allegations. (Opp. at 21-23.)
            This court need not consider new allegations "raised for the first
            time in Plaintiffs opposition brief[.]" Eden Alpha CI LLP v. Pol-
            ished.com Inc., 763 F. Supp. 3d 270, 313 n.11 (E.D.N.Y. 2025)
            (collecting cases); see also Russo v. Keough's Tum of the River
            Hardware} LLC, No. 11-CV-994 (VB), 2012 WL 4466626, at *6
            (S.D.N.Y. Sept. 25, 2012) (reasoning that "[i]t is well-settled that
            a court is not required to consider new theories of liability raised
            for the first time in opposition" papers). Plaintiffs' equal protec-
            tion claim fails on that independent basis.
            Additionally, while the CFB denied the Adams Campaign match-
            ing funds based on multiple violations of the CFB Rules on
            multiple occasions since December 2024, it only believed that
            Mr. Cuomo violated a single CFB Rule. (See Reply at 14-15.) Fur-
            thermore, the Board initially denied Mr. Cuomo's campaign
            public matching funds on April 15, 2025 as well based on viola-
            tions of a different CFB rule. (See Second Ryan Deel. 'I 7.) And it
            only reversed course after Mr. Cuomo's campaign "successfully
            provided enough of the[] statements" that the relevant CFB rule
            demanded (Id.)
           On July 10, 2025, Plaintiffs, with leave of court, filed a response
           letter to the Second Declaration of Paul Ryan. (Pls.' Letter (Dkt.
           16).) In the letter, among other things, Plaintiffs state that Mr.
           Ryan's declaration revealed that the CFB "revised the amount of
           the withholding" from the Cuomo campaign "based on subse-
           quent documentation provided to the Board and in response to a
           Rule 7-09 petition," while it refused to consider the Adams Cam-
           paign's late submissions when it held a meeting on May 12, 2025.
           (Id. at 1.) To that end, Plaintiffs argue that "Mr. Ryan's Second
           Declaration thus establishes that the Adams Campaign was
           treated less favorably than the Cuomo Campaign." (Id. at 1-2.)




                                           53
Case 1:25-cv-03380-NGG-LKE          Document 18 Filed 07/11/25                Page 54 of 61 PageID #:
                                           1205




            After the court directed the CFB to respond to Plaintiffs' letter,
            (see Text Order Dated July 10, 2025), the CFB explained that
            "[c]onsistent with Rule 7-09(b), the Cuomo Campaign demon-
            strated good cause for the previous failure to submit [the]
            information ... that ... was controlled by a third party[.]" (Def.'s
            Resp. Letter (Dkt. 17).) In other words, "[t]he Board did not al-
            low the Cuomo Campaign to correct a mistake the Cuomo
            Campaign made; rather, the Board corrected its own determina-
            tion that had been based on incorrect information from a third
            party." (Id.) Mr. Ryan's Second Declaration supports the Board's
            position. (Second Ryan Deel. ff 4 (''The purpose of Rule 7-09 re-
            view is to correct an error made by the Board ..., not to correct
            an error made by a campaign[.]").) The court finds that the CFB's
            explanation is consistent with the "good cause" exception set
            forth under CFB Rule 7-09(b). 29
            Therefore, Plaintiffs, in their petition, fail to allege any candi-
            dates in similar circumstances that the CFB has treated
            differently. See) e.g., Ruston v. Town Bd. for Town of Skaneateles,
            610 F.3d 55, 59-60 (2d Cir. 2010) (affirming dismissal because
            the complaint failed to allege specific examples of applications
            that were made by persons similarly situated); NRP Holdings, 916

            29 Although it does not change the anlayis or the outcome, the court high-

           lights the inconsistenty between the Board's response and its press release.
           The CFB's letter notes that "[t]he vote referenced in paragraph 29 of the
           Second Declaration of Paul S. Ryan took place on June 20, 2025 in re-
           sponse to the Cuomo Campaign's Rule 7-09 Petition for reconsideration of
           the Board's May 30, 2025 payment determination." (Def.'s Resp. Letter.)
           But the Board's June 9, 2025 press release appears to directly contradict
           that; instead, informing the public that the Board "voted Monday to make
           a payment totaling $540,482 to the Cuomo for NYC Campaign." See
           New York City Campaign Finance Board, NYC Campaign Finance Board Ap-
           proves Updated Payment, Withholding Amounts for the Cuomo for NYC
           Campaign, available at https://www.nyccfb.info/media/press-re-
           leases/nyc-campaign-finance-board-approves-updated-payment-
           withholding-amounts-for-the-cuomo-for-nyc-campaign/
           [https://perma.cc/8HRE-3HYF] (last visited July 11, 2025)




                                               54
Case 1:25-cv-03380-NGG-LKE        Document 18 Filed 07/11/25            Page 55 of 61 PageID #:
                                         1206




            F.3d at 198-99 (affirming dismissal because the complaint pro-
            vided insufficient details about unnamed similarly situated
            developers). Accordingly, undisputed material facts demonstrate
            that the CFB is entitled to judgment on the pleadings as to the
            equal protection claim.
                D. Remaining Issues
                     1.   CFB's Rulemaking Authority
            The court concludes that the CFB did not exceed its rulemaking
            authority under the CFA. The Board has the statutory authority
            to promulgate CFB Rule 3-0l(d)(ii)(B). The CFA sets forth eligi-
            bility requirements for "optional public financing." Admin. Code
            § 3-703. Accordingly, among other things, candidates must meet
            certain ballot requirements, file a written certification opting into
            the Program, provide the CFB with requested information re-
            garding campaign contributions or expenditures, and comply
            with contribution limits. See Admin. Code§§ 703(1)(a), (c), (d),
            (f). In addition to these requirements, the CFA also provides that
            the CFB "shall have the authority to promulgate such rules and
            regulations and provide such forms as it deems necessary for the
            administration of this chapter" and "may take such other actions
            as are necessary and proper to carry out the purposes of this
            chapter." Admin. Code§§ 3-708(8), (11).
           Under New York law, "an administrative regulation will be up-
           held only if it has a rational basis, and is not unreasonable,
           arbitrary or capricious." N. Y. State Ass'n of Cntys v. Axelrod, 78
           N.Y.2d 158, 166 (1991) (collecting cases). The burden is on
           "[t]he challenger [to] establish that a regulation is so lacking in
           reason for its promulgation that it is essentially arbitrary." Id.
           Also relevant here, agencies are "permitted to adopt regulations
           that go beyond the text of [their] enabling legislation." In re
           Acevedo, 29 N.Y.3d at 221. An agency, "as a creature of the Leg-
           islature, is clothed with those powers expressly conferred by its




                                            55
Case 1:25-cv-03380-NGG-LKE        Document 18 Filed 07/11/25             Page 56 of 61 PageID #:
                                         1207




            authorizing statute, as well as those required by necessary impli-
            cation." In re City of N. Y. v. N. Y. Comm'n on Cable Television, 4 7
            N.Y.2d 89, 92 (1979). To that end, New York courts "have not
            hesitated to uphold reasonable acts on [an agency's] part de-
            signed to further the regulatory scheme," so long as such "agency
            has been endowed with broad power to regulate in the public
            interest." Id.
            Here, the CFB has broad rulemaking powers entrusted to it by
            the CFA. Not only does it "have the authority to promulgate such
            rules and regulations . . . necessary for the administration of"
            Chapter 7 of the CFA, see Admin. Code§ 3-708(8), but it can also
            "take such other actions as are necessary and proper to carry out
            the purposes of' of Chapter 7 of the CFA, Admin. Code § 3-
            708(11). Furthermore, the CFB, like other agencies, "is permitted
            to adopt regulations that go beyond the text of its enabling legis-
            lation." In re Acevedo, 29 N.Y.3d at 221. However, the CFB's
            rulemaking authority is not absolute; its regulations must be
            "consistent with the statutory language and underlying purpose."
            Id. It "is left to the CFB to interpret the Act's provisions in a man-
            ner consistent with its mandate to govern public financing of
            campaigns and the Act's purpose to level the playing field." Kur-
            land v. N.Y.C. Campaign Fin. Bd., 873 N.Y.S.2d 440, 445 (Sup.
            Ct. 2009).
           The CFA's purpose is to help ensure the ethical conduct of elec-
           toral candidates and elected city officials by reducing their
           reliance on large contributions, enabling them to communicate
           with the electorate, and keeping voters informed of local cam-
           paign issues, and increasing public confidence in the electoral
           process. See Jeffrey D. Friedlander, Stephen E. Louis & Laurence
           D. Laufer, The New York City Campaign Finance Act, 16 HOFSTRA
           L. REv. 345, 354-55 (1988). Similarly, as the court discussed
           above, the Board's goals include preventing corruption and the
           appearance of corruption. Thus, the court finds that the CFB




                                            56
Case 1:25-cv-03380-NGG-LKE        Document 18 Filed 07/11/25            Page 57 of 61 PageID #:
                                         1208




            acted within the contours of its broad rulemaking authority
            vested in it by the CFA. To that end, CFB Rule 3-01 (d) (ii) (B) "has
            a rational basis, and is not unreasonable, arbitrary or capricious."
            Axelrod, 78 N.Y.2d at 166.

                     2.   New York City Administrative Procedure Act
            Plaintiffs' claim under the New York City Administrative Proce-
            dure Act C'CAPA") (codified at N.Y.C. Charter§ 1041 et seq.) is
            also unavailing. CAPA Section 1046(f) states that "[w]here any
            agency is authorized to conduct an adjudication ... [a]ny rec-
            ommended decision, final decision, determination or order shall
            be in writing, or stated in the record if the parties are present,
            and shall include findings of fact and conclusions of law." N.Y.C.
            Charter§ 1046(f). In tum, CAPA Section 1041(1) defines "Adju-
            dication" as "a proceeding in which the legal rights, duties or
            privileges of named parties are required by law to be determined
            by an agency on a record and after an opportunity for a hearing."
            N.Y.C. Charter§ 1041. Plaintiffs contend that the CFB violated
            CAPA when it denied the Adams Campaign public matching
            funds without making any findings of fact. (Am. Pet. 'l'I 89-94
            (citing N.Y.C. Charter§ 1046).)
            However, the CFB did not conduct any hearing before reaching
           its decision. Nor was it required to do so under the CFB Rules or
            the CFA. While Plaintiffs are correct that CAPA Section 1046 re-
           quires that agencies provide "findings of fact" to support their
           "conclusions of law," CAPA Section 1046 applies only to deter-
           minations made after hearings conducted as part of
           adjudications. See N.Y.C. Charter § 1046(f). And "[a]djudica-
           tions" under CAPA are "proceeding[s] in which the legal rights,
           duties or privileges of named parties are required by law to be
           determined by an agency on a record and after an opportunity for
           a hearing." N.Y.C. Charter§ 1041(1) (emphasis added); see also
           In re Landmark West! v. Tierney, No. 107387/05, 2005 WL
           2108005, at *2 (Sup. Ct. 2005) ("Charter Section 1046 applies




                                            57
Case 1:25-cv-03380-NGG-LKE       Document 18 Filed 07/11/25           Page 58 of 61 PageID #:
                                        1209




            to a required quasi-judicial hearing presided over by a hearing
            officer or administrative law judge."), affd, 25 A.D.3d 319 (1st
            Dep't 2006). Because no adjudication took place here and none
            was required, CAPA Section 1046 is inapplicable. Thus, Plaintiffs'
            CAPA claim is meritless.
                     3.   CFB Rules 7-08 & 7-09
            The court finds that the CFB complied with its own rules in
            providing written explanations to the Adams Campaign in deny-
            ing the campaign's request for matching funds. In pertinent part,
            CFB Rule 7-08, titled "Notice to candidates," requires the Board
            to "notify the candidate in writing of any non-payment determi-
            nation." Such notice must "specify[] the basis for payment or
            non-payment of public funds[.]" CFB Rule 7-09(a). Plaintiffs al-
            lege that the Board "has failed to comply with Rules 7-08, 7-09,
            and 10-03 in denying campaign matching funds to the Adams
            Campaign." (Am. Pet.'! 81.) In support of this claim, they further
            allege that the CFB's Amended Notice issued to the Adams Cam-
            paign on May 2, 2025 did not provide any specific factual basis
            for denying matching funds. (Id. '! 58.)
           But the Board correctly points out that CFB Rule 7-09 "addresses
           the review process for non-payment decisions." (Mot. 12 (empha-
           sis added).) Plaintiffs appear to confuse the procedure with
           substance. The Amended Notice informed the Adams Campaign
           that it failed "to demonstrate eligibility for a public funds pay-
           ment." (Am. Not. at ECF p. 94; see also Am. Nonpayment
           Determination at ECF p. 91 (providing three independent rea-
           sons for denial of matching funds).) In doing so, the Board
           notified the Adams Campaign of all the bases, namely, "Board
           Rules 3-0l(d)(i)(A)(2), 3-0l(d)(ii)(A)(4), and 3-0l(d)(ii)(B),"
           for its denial of matching funds. (Am. Not. at ECF p. 94.) Fur-
           thermore, the Amended Notice listed a full paragraph of records
           that the Board reviewed in reaching the decision, satisfying CFB




                                          58
Case 1:25-cv-03380-NGG-LKE          Document 18 Filed 07/11/25               Page 59 of 61 PageID #:
                                           1210




            Rules 7-08 and 7-09's procedural requirements. (Id.) Thus, the
            CFB properly followed its own rules. 30
                      4.   Delegation of Authority to the Chair of the CFB
             Next, the CFB properly delegated its authority to make determi-
             nations to the CFB's Chair of the Board regarding Mayor Adams's
             petition filed pursuant to CFB Rule 7-09. In relevant part, CFB
             Rule 7-09(c)(i) provides that the CFB "may delegate to the Chair
             of the Board ... authority to make a determination regarding the
            petition," if (i) a petition for reconsideration is filed; (ii) the can-
             didate waives his right to appear before the Board; and (iii) the
            Board is unable to convene within five business days of receipt of
            the petition. Here, the Adams Campaign filed a petition for re-
            consideration on April 25, 2025. (See Adams Campaign Appeal.)
            And Mayor Adams waived his right to appear before the Board
            in connection with the petition. (Id. at ECF p. 81.) The CFB ''was
            unable to convene within five business days of receipt of the pe-
            tition and therefore delegated to the Chair of the Board,
            Frederick Schaffer, the authority to make a determination re-
            garding the petition." (First Ryan Deel. 'f 61.) Thereafter, the
            Chair of the Board denied the Adams Campaign's petition. (Id. 'f
            63.) Plaintiffs assert that the rule "does not confer on the Chair
            the authority to act when the CFB cannot meet, it simply allows
            the CFB to delegate that authority to the chair." (Opp. at 28
            n.16.) But this argument ignores the clear language of the text of
            the relevant rule, which provides that the CFB "may delegate ...
            authority to make a determination regarding the petition." CFB

            30 Plaintiffs Amended Petition also claims that the Board failed to comply

           with CFB Rule 10-3 in denying matching funds to the Adams Campaign.
           (Am. Pet. CJ 81.) But CFB Rule 10-3, titled "Board determinations con-
           cerning violations, infractions, penalties, and repayment of public
           funds[,]" is listed under Chapter 10: Audit and Enforcement. Thus, as the
           Board clarifies, unlike CFB Rules 7-08 and 7-09 under Chapter 7: Pre-Elec-
           tion Public Funds Payments, CFB Rule 10-3 "is only relevant once the
           Board has already distributed funds to a campaign." (Mot. at 13.)




                                               59
Case 1:25-cv-03380-NGG-LKE       Document 18 Filed 07/11/25           Page 60 of 61 PageID #:
                                        1211




            Rule 7-09(c)(i) (emphasis added). Accordingly, the CFB properly
            exercised its delegation authority.

                                          ***
            Finally, the court also agrees with Defendant that while the Peti-
            tion "is styled as containing fourteen causes of action (of which
            the parties have stipulated to discontinue causes of action thir-
            teen and fourteen), Plaintiffs do not allege fourteen distinct
            claims." (Mot. at 9.) And because the court grants Defendant's
            motion for judgment on the pleadings and denies Plaintiffs' re-
            quest for relief under Article 78 on two independent grounds, to
            the extent there are outstanding arguments raised by Plaintiffs
            that the court has not addressed above, it need not reach them.
            See Steinberg v. PRT Grp.) Inc., 88 F. Supp. 2d 294, 299 n.3
            (S.D.N.Y. 2000) ("Because I am granting the motions on other
            grounds, I need not reach the[] [remaining] issues."); see also
            Winnik v. Chater, No. 95-CV-695 (DC), 1998 WL 151041, at *1
            n.2 (S.D.N.Y. Apr. 1, 1998) (taking the same approach).




                                           60
Case 1:25-cv-03380-NGG-LKE         Document 18 Filed 07/11/25           Page 61 of 61 PageID #:
                                          1212




               V. CONCLUSION

               The CFB provided two independent valid reasons for its decision
               to deny the Adams Campaign public matching funds: (1) failure
               to timely respond to the CFB's request for information and (2)
               failure to timely file the COIB disclosure. Thus, the court
               GRANTS Defendant's motion for judgment on the pleadings and
               DENIES Plaintiffs' demand for relief pursuant to CPLR Article 78.
               The court also DISMISSES Plaintiffs' declaratory judgment
               claims, request for money damages, and attorneys' fees and liti-
               gation expenses. The Clerk of Court is respectfully DIRECTED to
               enter judgment in favor of Defendant and close this case.
      SO ORDERED.


      Dated:      Brooklyn, New York
                  July u_, 2025

                                                          s/Nicholas G. Garaufis
                                                          N!CHQLAS G: GARAlJFIJ     r    •

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                                             61
